UN|TED STATES D|STR|CT COURT
NORTHERN D|STR|CT OF NEW YORK

 

5:17-cR-228 (FJs)

UN|TED STATES OF AMERICA
DEFENDANT'S SENTENC|NG
v. STATEMENT AND REQUEST
FOR A NON-GU|DELINE
SENTENCE
CHARLES TAN,
Defendant.

 

BRIAN DECAROL|S, ESQ., and JAl\/|ES NOBLES, ESQ., affirm as follows:

l. We are attorneys licensed to practice law in the State of New York and the
United States District Court for the Northern District of NeW York, and We represent
Charles Tan.

2. We make this affirmation pursuant to the requirements of Section 6A1.2
of the Sentencing Guide|ines and Ru|e 32(f) of the Federal Rules of Criminal Procedure.

3. ln accordance With those rules, We have reviewed the Pre-sentence
investigation Report dated October 4, 2018 (hereinafter the "PSR"), and have
discussed it With our client.

4. The representations made in this Sentencing l\/lemorandum are based
on the PSR, conversations With Char|ie and others, and the following exhibits:

Exhibit A: Statement of Char|ie Tan;
Exhibits B: Letters from:

1. Qing (Jean) Tan, mother of Char|ie Tan, dated August 30,
2018;

2. l\/lary Barnard, former neighbor on Coach Side Lane,
dated September 4, 2018;

3. Kelly K|ovstad, former neighbor on Coach Side Lane,
dated August 31, 2018;

4. David R. Testa, parent of a long-time friend, dated August
14, 2018;

5. Gordon and l\/laureen Valentine, parents of a friend,
dated August 23, 2018;

6. Sandra A. Testa, parent of a close friend, dated August
29, 2018;

7. Connor R. l\/lcl\/lann, close friend since high school,
undated;

8. Suzanne lVlcl\/lann, aunt of a friend, dated September 5,
2018;

9. Tracy and Chris F|ynn, parents of a long-time friend,
dated August 13, 2018;

10.Christopher Ando|ina, Cornell friend, fraternity brother,
and former roommate, undated;

11. Lucy Shephard, best friend from Cornell, dated August
31, 2018;

12.Adam W. Shelepak, friend from Corne||, undated;

13.Russel| E. Browning, Jr., friend and fraternity brother,
dated September 3, 2018;

14.Robert Pannullo, friend from Cornell, dated August 21,
2018;

15.Caleb J. l\/linsky, Cornell friend, dated August 28, 2016;
16. Kelsey l\/|apstone, friend and Cornell classmate, undated;
17. Pat Curran, Cornell friend and teammate, undated;

18.Benjamin Greenberg, Cornell teammate, dated August
25, 2018;

19.Grace A. Vetromile, friend from Cornel|, dated August 27,
2018;

20. Ryan Jackson, friend from Corne||, undated;
21.Raymond Reed Brewer, Cornell friend, undated;

22. l\/latt Bruhn, Cornell teammate, dated August 28, 2018;
23.Chris D’Ambrosio, Cornell friend and teammate, undated;
24. Ben Kro|l, friend for more than 12 years, undated;

25.Noah T. Shephard, Cornell teammate and fraternity
brother, dated August 31, 2018;

26. Lauren D’Hont, friend since elementary school, undated;
27.Sean Flynn, longtime friend, dated September 7, 2018;
28.Anna Valentine, longtime friend, undated;

29.Jacob Grossman, friend for over a decade, undated;
30.Courtney Case, high school friend, undated;

31.l\/|aggie l\/lcl\/|ahon, close high school friend, dated
September 9, 2018;

32.Alison and Greg Sample, friends from Atlanta, dated
August 21, 2018;

33. l\/lelissa A. Cocola, supervisor, dated September 9, 2018;

34.Lisa Beemsterboer, former neighbor in Chicago, dated
September 6, 2018;

35. Nola O’Keefe, former neighbor in Chicago, undated;

36.Vanja l\/lisimovic, former girlfriend, dated August 18,
2018;

37.l\/latthew G. Burke, Esq., former neighbor, dated
September 7, 2018;

Exhibit C: 911 Ca||, January 28, 2015 (PSR 1110-11);

Exhibit D: Excerpt of testimony of l\/lichael Sul|ivan, Dynamax
employee, September 25, 2015.

|NTRQDQCTlQN

5. Char|ie Tan pled guilty to a three-count Superseding lndictment, charging
18 U.S.C. § 924(b); 2(b), Receiving Firearm With intent to Commit an Offense; 18
U.S.C. §§922(a)(6) and 924(a)(2); 2(a) & (b), Fa|se Statement During Purchase of a
Firearm; and 18 U.S.C. §§ 924(a)(1)(A); 2(a) & (b), Fa|se Statement During Purchase of
a Firearm.

6. Sentencing is currently scheduled for l\/|onday, November 19, 2018, at 2
p.m.

ENTENC|N TATEMENT

7. Char|ie Tan has no criminal history outside of the related state case. His
criminal history score is zero, establishing a criminal history category of |. Not only does
he have no law enforcement contact, but he has an extensive history of community
service, going out of his vvay to help others, supporting those in need, leading by
example, and building community Wherever he goes. See the numerous character
letters attached hereto as Exhibit B.

8. Char|ie pleaded guilty and has accepted responsibility for his conduct.
Pursuant to U.S.S.G. §3E1.1(a), the offense level is decreased by 2 levels, resulting in
a total offense level of 41.

9. Paragraph 68 of the PSR states the offense level Will not be reduced by

an additional one level pursuant to U.S.S.G. §3E1.1(b) because the defendant pled

guilty on the eve of trial. The defense will argue the defendant should receive this
additional reduction.

10. The defendant has a CD with a value of $21,081 as of August 2018. PSR
‘|1 97. He also owns stock in Know Foods. PSR ‘[l 95. While valued at $100,000, it is a
venture capital investment. lt currently has no cash value and is not publicly traded.

11. Under 18 U.S.C. § 3553(a), federal sentencing courts must impose a
sentence that is sufficient, but not greater than necessary, to meet the purposes of
sentencing1 This includes the nature and circumstances of the offense and the history
and characteristics of the defendant, the need to avoid sentencing disparities between
defendants with comparable criminal records who have been convicted of similar
crimes, and the Guidelines themselves. See United States \/. Dorvee, 616 F.3d 174, 183
(2d Cir. 2010).

12. The "sufficient, but not greater than necessary" language of § 3553 is
commonly referred to as the "parsimony clause." See United States \/. l/l/i//iams, 475 F.
3d 468, 476 (2d Cir. 2007), cert. denied, 552 U.S. 1105 (2008). When imposing
sentence, the district court must consider the factors mentioned in § 3553(a), including
the requirements of the parsimony clause. /d. Simply stated, if the district court
concludes that either of two sentences would properly serve the statutory
1 The purposes of sentencing are identified as:

The need for the sentence imposed -

(A) to reflect the seriousness of the offense, to promote respect for the

law, and to provide just punishment for the offense;

(B) to afford adequate deterrence to criminal conduct;

(C) to protect the public from further crimes of the defendant; and

(D) to provide the defendant with the needed educational or
vocational training, medical care, or other correctional

treatment in the most effective manner.
18 U.S.C. § 3553(a)(2).

purposes of § 3553(a), application of the parsimony clause compels imposition of
the lesser sentence. See United States v. Ministro-Tapia, 470 F.3d 137,142 (2d Cir.
2006).

13. The sentencing court must also consider the advisory Sentencing
Guidelines. United States v. Booker, 543 U.S. 220,245-246 (2005). However, "[e]ven
where a district court has properly calculated the Guidelines, it may not presume that a
Guidelines sentence is reasonable for any particular defendant, and accordingly, must
conduct its own independent review of the § 3553(a) sentencing factors." United States
\/. Dorvee, 616 F.3d at 182 (citing United Stafes \/. Cavera, 550 F.3d 180,189 (2d Cir.
2008), cert. denied 129 S. Ct. 2735 (2009)).

14. The importance of individualized sentencing is a central theme in federal
criminal law:

lt has been uniform and constant in the

federal judicial tradition for the sentencing
judge to consider every convicted person as an
individual and every case as a unique study in
the human failings that sometimes mitigate,
and sometimes magnify, the crime and the
punishment to ensue.

Koon \/. United Stafes, 518 U.S. 81,113 (1996).
15. ln Kimbrough v. United States, the Supreme Court reminded the district
courts that:

The sentencing judge has greater
familiarity with the individual case and the
individual defendant before him than the
Commission or the appeals court. . .. He is
therefore in a superior position to find facts
and judge their import under § [3553(a)] in
each particular case.

K/'mbrough \/. United States, 552 U.S. 85, 108 (2007) (internal
quotations omitted).

DEFENDANT’S BACKGROUND

 

16. Although much of this information is contained in Charlie’s letter to the
Court and the PSR, the information in this section of the i\/lemorandum is based upon
the Defense’s review of the discovery and independent investigation of the facts and
circumstances of this case.

17. Chariie Tan was born in Ottawa, Canada to Liang (Jim) Tan and Qing
(Jean) Tan. His father was the sole proprietor of Dynamax lmaging, LLC prior to his
death in February 2015. His mother had little education and stayed home with the
children, Char|ie and Jeff.

18. Jim and Jean were raised in China. As was tradition, their marriage was
arranged Once married, their goal was to move to the United States after Jim had
finished his degree and found employment The Tans had two sons, Jeff and Charlie.
They lived in Corning, then moved to Pittsford when Char|ie was in the second grade. in
2012, Jim started his own business, Dynamax lmaging.

19. Char|ie graduated from Pittsford l\/iendon High School in June 2013. He
was student council president and a member of the schooi’s football and wrestling
teams. A bright student, he graduated high school with enough AP credits that would
have allowed him to graduate college one year early. Char|ie attended Cornell
University in lthaca, N.Y. from August 2013 through February 2015. in January 2015,
Char|ie was a 19 year old sophomore at Cornell University, where he was a member of

the Chi Phi fraternity and played on the Sprint football team.

20. From the outside, the Tans were living the American dream. The family
moved from China to lreland, then Canada, eventually settling in the United States, on
Coachside Lane in Pittsford, N.Y., an affluent suburb of Rochester, N.Y. After stints with
Corning and Kodak, Jim Tan started his own company. Jean stayed home with the
children, who excelled in everything they did. Their lives appeared picturesque, but
nothing could be further from the truth.

21. By culture, the family was notoriously private when it came to discussing
anything personai. Few neighbors and a handful of friends got a glimpse of life inside
the Tan househoid, as is reflected in the character letters. Notably, no one was close to
Jim. He did not interact with neighbors, coworkers, or employees unless it was
absolutely necessary. He was not congenial. He was an exceptionally private man,
exhibiting the same controlling, abusive traits both at home and work. A picture of Jim
Tan is painted through the attached letters (Exhibits B), the January 28, 2015 911 call
(Exhibit C) and trial transcript (Exhibit D). They paint the profile of an abuser: quick
involvement in a marital reiationship, controlling behavior, jealousy, unrealistic
expectations, isolation, blaming others for problems and feelings, hypersensitivity,
cruelty to children, verbal abuse, dual personality, threats of violence, breaking or
striking objects in anger, use of force during an argument. All of the signs were there,

and largely kept behind closed doors.

 

22. Charles John Tan was born on October 3, 1995. On February 5, 2015

Char|ie Tan was 19 years, 4 months old.

C|RCUMSTANCES LEAD|NG UP TO THE OFFENSE

 

23. On January 28, 2015, at 10:40 p.m., Jean Tan called 911 to report she’d
been assaulted by her husband. Jean stated her husband had beat her up and she
needed protection. The call ends when Jean hears Jim approaching and the 911
operator calls back. Jim takes over the call and downplays the incident He can be
heard telling his wife to “calm down” and “don’t be childish.” PSR 1110 Audio of the call
can be heard here: httos://soundcloud.corn/democrat-and~chronicle/128~iean-tan-91t-
cail-he-choked-me-and-im-so-scared (See Exhibit C submitted separately). The actual
audio is being included because you need to hear it: the tension, the fear, his demeanor,
attitude, and responses

24. Approximately four hours later, Jean calls Char|ie to tell him what
happened between her and his father earlier in the evening, a call that lasts 18 minutes;
a call that made Char|ie believe “this time was different.” Charlie called his father on the
phone to confront him. PSR 1112. Over the course of a 9 minute call, Char|ie confronts
Jim about his drinking, his violence, and his treatment of his mother. Jim responds with
it’s none of his business to “stay out of it...l can do what l want...even kill her...you
can’t stop me,” further leading Char|ie to believe this time is different. PSR 1156.

25. Communications between Char|ie and his mom continued over the next
several days PSR 1113. As a result of these communications and the escalating
situation at home, Char|ie began making plans to leave school to go home for a few

days PsR 111113-15.

26. Charlie believed his mom’s life was in grave danger at the hands of his
father When he got home, the situation escalated. He stated to police that “l had to do
it, he was going to kill my mom.”

COMMUN|TY SUPPORT

 

27. As evidenced in the character letters and laid out below, Char|ie Tan has
an enormous community providing an abundance of support. Furthermore, it is
expected that the anticipated Addendum to the PSR will illustrate this support. This
Addendum is expected to summarize eight interviews the probation department
conducted with various people from different parts of Charlie’s life.

28, While his mistakes are acknowledged in the ietters, they unanimously
speak of a loyal, compassionate young man full of altruism who takes care of those
around him, gives tirelessly of himself, and builds community wherever he goes All of
these sentiments are evidenced by Anna Valentine raising over $50,000 from over 600
individual donors to go toward Charlie’s bail and defense of his case.

A CHiLD OF ABUSE

 

29. Charlie’s father was an abusive man with many flaws. His father would
often beat his mother and she would take her young boys to women’s shelters in
Canada to stay safe from her husband. Jeff was under two years old when their mother
filed for her first order of protection against their father and they went to their first shelter
in lreland. When the boys got older, their father would force them to watch him yell at
and beat their mother. This went on for years; until Jeff was in middle school and could

step in and fight back to protect his mother and younger brother, Char|ie (PSR 11 80).

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30. Charlie, his mother, and brother were isolated and had no family support.
They were very poor. lt was normal for the boys to witness their father hitting their
mother and to spend time in shelters and to receive food from food banks

31. Jim Tan had complete financial control over the family. Jean was
completely dependent upon her husband; she did not have a penny to her name. She’d
always wanted to go to school to gain education and be able to earn income, even if
minimal. But Jim would not allow it. Furthermore, he would control her activities: taking
her driver’s license, shutting off their cell phones, shutting off the heat in their home,
making her beg for money for basic necessities for their family. Additionally, Charlie’s
father attempted to control what was said to police when they were called to his home,
thereby falsifying police reports

32. Jim and Jean’s marriage had been arranged, as was common practice in
China at that time. According to Chinese tradition, once a woman is married she
essentially leaves her own family and becomes the responsibility of her husband’s
family. After marriage, it is expected that she will turn to her new family for help and
support when necessary Traditionally, married life consisted of a complex and rigid
arrangement in which the husband was to provide for the family while the wife was
charged with all domestic duties The traditional belief system included arranged
marriage, male superiority, and disregard for the interests of children. l\/larriage was for
life; divorce was not aliowed. This was common rhetoric spewed by Jim Tan to his wife
and children.

33. While the family was still living in Canada, police intervened because of

the bruising Jean’s doctor observed on her body. lt was the longest stint she and the

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boys ages five and three, spent in a shelter. Like typical victims of domestic violence,
they returned home (PSR 11 80). The abuse continued.

34. Approximately five years later, they moved to the United States. By now,
their father had gotten smarter about the bruises he inflicted on his wife, making sure
wounds were concealed (PSR paragraph 80). i\/lost cases of domestic violence are
never reported to the police (Frieze, /.H., Browne, A. (1989) Vio/ence in Marriage. ln
L.E. Oh/in & M. H. Tonry, Fami/y Vio/ence. Chicago, /L.' University of Chicago Press).
The Tans were part of this statistic.

35. Finding themselves again in a new country, far from family, and without
education, social support, basic necessities and financial resources they began again,
at Jim’s mercy. The family lived in fear. They had no other place to go.

36. Physical and psychological abuse grew into financial abuse. Everything
was in Jim’s name. Their mother was completely dependent on their father. Jim
controlled Jean’s activities by taking her driver’s license, removing license plates from
the car, shutting off phones and shutting heat off in their home (PSR 11 80). A former
neighbor recounts how Jean would purchase giftcards for grocery stores and
restaurants when she was able to go to Wegman’s She’d use them when Jim refused
to provide for her and the boys (Exhibit B-3).

37. As Char|ie got older, he became more aware of his father’s controlling and
abusive ways He recalls having friends over after school one day in elementary school
and his father coming horne early. Upon seeing people in the house, he became angry

and began yelling for them to get out (PSR 11 52).

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38. Over time, Char|ie began spending more and more time at friends’ houses
to avoid the situation at home. Sleepovers at friends’ houses Sporting events
Extracurriculars. Char|ie learned to carefully tiptoe around his father, as his moods were
unpredictable and easily triggered. Char|ie had several close friends whose families
treated him as part of their own; To keep in his father’s good graces, Char|ie excelled
academically, athletically, and socially while his mom and brother endured the worst of
his father.

39. Despite his home environment, Char|ie longed for family. The fear he
experienced at the hands of his father, along with the coping he learned to avoid his
wrath, he was driven to become the warm, gregarious, selfless young man he is He
began reaching out to others and never stopped doing so. Charlie built a web of
community wherever he went. He continues to do so to this day, even while
incarcerated. Char|ie has a unique way of bringing people together and helping them
feel as if they matter and are a part of something. His warm smile and outgoing
personality won the hearts of so many. Char|ie succeeded in creating his own family,
something he did not have at home.

40. Char|ie and Jeff were raised to keep their family life private. Their
problems were theirs alone, not anyone else’s (PSR 11 56). Corning from a cultural
background and home environment that both highly value privacy, one can imagine the

struggle of a young boy, hours from home, fearful for his mom’s life at the hands of an

abusive husband and father. lt is never easy to ask for help, and even more difficult
coming from that environment. lt is also a well-documented stage of the cycle of

violence.

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41. Jeff had always taken the brunt of the abuse from their father. And it
began to take its psychological toll on him: suicide attempts abuse of drugs and
alcohol, and running away from home, all normal, documented responses of children
who have suffered abuse (see https://sociaisolutions.com/bioo/domestic-viofence-
statistics-2018/). Charlie recollects Jeff’s suicide attempt in middle school and how their
father mocked him for failing to kill himself (PSR 11 52).

42. After receiving messages from his brother, and speaking to both of his
parents regarding the most recent incident at home, Charlie truly believed his father was
capable of killing his mother and that it was imminent. With his brother in Colorado,
Charlie felt it was his time to protect his mom in his brother’s absence. He was a young
man, unaware of the recent conversations between his mom and brother about divorce,
terrified of what would come next (PSR 11 56).

HlSTORY AND CHARACTER|ST|CS OF THE DEFENDANT

43. Charlie is thankful for the oven/vhelming support of his mom, brother,
friends and his extended family throughout this process and deeply regrets the distress
he has caused them. Attached to this statement are multiple character letters on behalf
of Charlie (Exhibits B), which describe a compassionate, selfless young leader,
uniquely able to bring people together, who clearly is very dear to his extensive
community. They attest to character, generosity, compassion, perseverance, and
remorse. Everyone who wrote a letter on Charlie’s behalf was aware of the charges to
which he has pled guilty. They have written these letters to describe him as a young
man who is more than the person who stands before the Court. He is also a son, a

brother, a friend, a teacher, and an integral part of his extended community.

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44. Some important descriptions of Charlie bear repeating in noting his
background and character: everybody’s friend (D. Testa, L. Shephard, Shelepak,
Vetromile, N. Shephard); leader (D. Testa, C. l\/lcl\/iann, Ando|ina, Shelepak, Browning,
Greenburg, Bruhn, Kroll, A. Valentine); outward helpfulness and desire to take care of
others (G. Valentine, T. & C. Flynn, l\/linsky); joy to have around (S. Testa, L. Shephard);
selfless (S. Testa, Ando|ina, Pannullo, Curran, Kroll, Flynn, O’Keefe); true and loyal
friend (C. l\/lcl\/lann, Ando|ina, l\/lapstone, Greenburg, Vetromile); genuine (Jackson);
sincere and honest (N. Shephard, Jackson, Sample, Cocola); role model (Curran,
Shelpak, Pannullo).

45. Charlie Tan is consistently described as a “wonderful young man” (D.
Testa) throughout the volumes of character letters written on his behalf He excelled at
everything he touched, and has a unique way of bringing people together, of building
bridges where there wouldn’t have otherwise been a connection. David Testa describes
this saying “Charlie had a unique way of leading and causing people to do the right
thing just by setting an example Connor l\/lcl\/lann shared “Charlie often captained the
team...because he led by exampie...and sparked a collective energy we didn’t know we
had.” This is reiterated over and over again in the letters

46. Gordon Scott and i\/laureen S. Valentine “...believe Charlie has integrity
and have observed how his outward exuberance always lit up the room.”

47. Gordon and l\/laureen Valentine share their experiences with Charlie in
high school, and how he became a part of their lives through their daughter,

demonstrating his true character by “giving of his time to demonstrate his appreciation

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rather than just walking away to have fun.” As Sandra Testa says “That’s Charlie,
always trying to help others."

48. Sandra Testa shares her family was not aware of Charlie’s home life until
February of 2015 and how “Charlie and Jeffery were raised in a family parented by two
Chinese born parents and that ethnicity is one who protects the privacy of intra-family
happenings at all costs.” The Testa family in one of the families that has welcomed
Charlie in; Sandra is proud of the example her husband has set for Charlie: “of how a
man ioves his family outwardly, how it’s ok for feeling emotions and how to articulate
those emotions to others." Her husband, David, reiterated this when interviewed by
probation (PSR 11 81).

49. Connor l\/lcl\/lann talks about how much Charlie invested in him when he
didn’t have to, and of how he developed a special relationship with his cousin Dyllan,
“who is on the autism spectrum and struggles with structuring many of her daily tasks.”
Connor and his Aunt Suzy l\/lcl\/lann, Dyllan’s mom, share the time Charlie spent with
Dyllan and the difference it made in her iife.

50. The Flynn family shares how Charlie became a part of their family, too.
After visiting the Tan household, their daughter shared there was always a lot of
screaming and yelling. The Flynns were left with the impression that Charlie’s father
was demeaning to his mom and it made the kids uncomfortable They recognized that
the time Charlie would spend with their family was “symptomatic of a deeper issue at
home.” The Flynns describe Charlie as “one of the most generous and caring people

[we] know.” Their relationship with him was so strong that Charlie lived with them during

his first trial.

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51. At Cornell, Charlie easily made friends and seemed to know everyone on
campus as is reflected in every letter written by his former schoolmates (Andolina, L.
Shephard, Browning). Charlie was known to “lead by example” (Andolina, Shelepak,
Browning). Lucy Shephard writes “[he is] one of the least judgmental people l know and
always sees the best in people.” Adam Shelepak comments on the noticeable gap
Without Charlie around and how he believes Charlie’s “deep loyalty, kindness and
respect will continue to define him as a person.”

52. Russell Browning, a senior at Cornell attests to how Charlie “excelled in
every aspect” his freshman year. Browning continues expressing he’d offer Charlie “a
job should he wish to pursue a financial career...[he’s] extremely intelligent, bright, and
promising young man whose life would be irreparably damaged by any sentence.”

53. Rob Pannullo shares how Charlie’s personality and situation significantly
influenced his life, inspiring him to attend law school immediately after graduating from
Corne|l. He writes of a lesson he learned as a 1L, from the Honorable Denny Chin of the
U.S. Court of Appeals for the Second Circuit: the importance of empathy in sentencing

54. Benjamin Greenberg shares how Charlie supported him through adversity,
crediting Charlie for helping him become the man he is today. Grace Vetromile writes of
how he goes out of his way to get to know people and how he’ll always have your back,
being there to offer his support Ryan Jackson describes Charlie’s demeanor and
sincerity, reflecting that “Charlie serves as a warmness that betters every individual
around him and...society as a whole; he and his heart have a way of making the dark
days seem brighter...” Raymond Reed Brewer, l\/latt Bruhn, and Noah Shephard echo

similar sentiments

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55. When asked why he continues to support Charlie, Chris Andolina says “he
is a good person and a better friend who has always put himself before others And at
the end of the day, l know that he would do the same for me if he were in my position.”

56. Lauren D’Hont, Sean Flynn, Anna Valentine, Jacob Grossman, Courtney
Case, and Maggie l\/lci\/lahon, all friends from Charlie’s days at Pittsford, spoke of his
friendship, his thoughtfulness, his work ethic, his motivation, altruism, and ability to lead.
They, too, reflect on how Charlie was able to bring people together and would never
burden anyone with his own troubles Charlie changed his friends’ lives for the better,
each in their own unique way, as he encouraged them to chase their dreams and never
hold back.

57. After leaving Rochester, Charlie spent time in Chicago, Atlanta, and
Toronto. He was forthcoming, open, and honest about his past. Charlie persevered with
energy and hope, always out to improve himself and those around him. This along with
his sincere and genuine kindness gratitude, and humility, are described in letters from
Alison and Greg Sample, l\/lelissa Cocola, Lisa Beemsterboer, Nola O’Keefe, and Vanja
l\/iisimovic, friends he made following his 2015 trial.

58. Unanimousiy, Charlie Tan is a remarkable young man who wants to do
good. Forcing this young man to grow up in prison would be a “great injustice,” as
Sandra Testa writes Lucy Shephard expounds on this sentiment “Charlie...has tried to
do all of this on his own. Famiiy was something that he never had...Family crafts you
into the person you are and who you will become. [he] was born into a family that turned

its back on him...he shouldn’t be punished for that.”

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59. David Testa summarizes the present situation best: “...it would be a
tragedy weil beyond that which has already occurred if this young man were to lose his
chance to grow up, to help others and to reach [his] potential. From the time of his trial
until now he has suffered a great deal - from trying to re-enter college, to finding
challenging work, to establishing a “permanent” home. Resolution of his sentencing will
determine just how much he is able to re-group and be a productive, contributing
citizen.”

60. |n his own statement (Exhibit A), Charlie’s remorse is clear, as is his
appreciation for the effect his crime has had on his family, his friends his education, and
his future.

61. Charlie reflects on family dynamics of growing up learning not to let
anyone in, to not share personal problems and to bottle things up. As a result, he didn’t
know to reach out to others when things at home felt imminently desperate He was 19
years old, “full of fear, anxiety, anger...so desperate.” Cryptic communications from his
brother in Colorado left Charlie feeling it was now his duty to protect his mom from his
father. His father stated that if his mom “pissed him off again he’ll kill her.”And his mom
repeatedly reiterated her husband threatened to kill her. Something was different this
time, his mom was “unusually defeated, and repeatedly told [him] that he was going to
kill her.” Charlie acknowledges his subsequent decisions were “immature and irrational.”

62. He goes on to talk about the collateral damages inflicted upon those he
loves most, about how he “abused their blind trust” in the moment, and the predicament

he unknowingly placed them in. Charlie is intimately aware of the damage he caused to

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those dear to him, knowing the relationships can never be mended. in keeping his mom
safe, he “hurt the ones he loves most.”

63. Charlie goes on to reflect on the second chance he was given by Judge
Piampiano, describing how he kept pushing forward, despite the continuous setbacks
and repeatedly being told no. He went from being an elite scholar at one of the country’s
most prestigious universities to being rejected by two dozen colleges nationwide:
Columbia, NYU, Duke, l\/lichigan, University of Chicago, Wisconsin, Clemson, UC
Berkeley, lndiana, Loyola, Carthage Co|lege, University of Toronto, Georgia Tech, South
Carolina, Purdue, University of illinois Ohio State, Emory, Quinnipiac, Georgia State,
University of Dayton, l\/lichigan State, University of Kentucky, and Western Kentucky
University. A big change from Cornell, Chicago State University was the only school to
accept him. He has been barred from completing his education and touches on how
he’s grown over the past few years discovering his direction for the future.

64. Charlie takes responsibility for his actions He, along with his family and
friends acknowledges the_.'debt he must pay to society for his poor choices and
requests leniency on his behalf. He is not a threat to society. He was a 19-year-old kid
caught up in a bad situation. Charlie is still a young man with enormous potential for a
bright, successful future. The dozens of letters written on his behalf consistently attest to
this Extensive incarceration would only add to the tragedy Charlie and his extended

family continue to endure.

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D FEN E’ E T F R A F RTHER DOWNWARD REDUCTi N
_BASED UPON FAClQRS OUTL|NED BY PROBATlON

65. As stated above in 11 9, the defendant should receive the additional one
level reduction pursuant to U.S.S.G. §3E1.1(b). A change of plea occurred when it
became appropriate to do so; in this case, motivated by late discovery disclosure by the
government The U.S. Attorney’s Office turned over tens of thousands of pages of
discovery a week before the trial that heavily influenced the defendant’s change of plea.
Significant resources could have been saved had the government provided this
discovery earlier in the process Charlie should not be further punished for the
government’s delayed disclosure As such, he should be afforded the additional one
offense level reduction for Acceptance of Responsibility.

66. At the time of the offense, Charlie was barely 19 years oid. With a birthday
of October 3, 1995, he was 19 years 4 months of age.

67. The dire circumstances leading up to the offense are chronicled in the
PSR, discussed in Charlie’s statement (Exhibit A), and touched on in the character
letters including that of Jean Tan (Exhibit B).

68. Charlie Tan has the most extensive level of community support ever seen
by the defense, as illustrated in the dozens of character letters received and witnessed
first-hand by those present in the Court during the pendency of this matter.

69. Furthermore, Charlie faces imminent deportation at the conclusion of this
matter. He will never again be allowed to return to the United States and to the

community that’s stood by him for so many years

21

70. While none of these factors in isolation would warrant a significant
departure from sentencing guidelines the unique nature of how these five factors are

intertwined require consideration of a significant downward departure.

SATiSFYlNG 18 U.S.C. § 3553 FACTORS

71. Every federal sentencing case involves the application § 3553, and this
Court has no doubt seen and recited the relevant sections of the statute hundreds of
times But it is worth emphasizing the fundamental command of the statute1 the
sentence imposed must be sufficient, but not greater than necessary to comply with
the purposes set forth in the statute. 18 U.S.C. § 3553(a).

72. With respect to the sentencing factors and § 3553(a)(2), if the Court is to
consider those factors it is the Defense’s position that a period of 5 years of total
incarceration for Charlie would reflect the seriousness of the offense, would promote
respect for the law, and provide just punishment for the offense, given the lifelong
stigma associated with such a conviction and the losses he has already sustained
professionally and financially, along with the fact that he’s facing imminent deportation at
the conclusion of this matter See United States v. Ontiveros, supra.

73. The same factors as mentioned above would certainly apply to the

purpose of sentencing to “afford adequate deterrence to criminal conduct” is also

required to be considered by 18 U.S.C. § 3553, paragraph B.
74. With regard to paragraph C of § 3553 which states “to protect the public
from further crimes” given the Defendant’s lack of criminal history, the effects this has

had on himself and his family, the significant level of remorse attached to this conviction,

and his change in lifestyle, it appears that he is at an exceptionally low risk to re-offend.

22

This is not a case of cold-blooded, premeditated murder, as the government lays out in
their Sentencing l\/iemorandum. Rather it is yet another tragic situation further illustrating
the cycle and dynamics of domestic violence. A young immigrant mother, trapped in an
abusive marriage, struggling to provide for and protect her young boys from the wrath of
their father As they grew, the boys became protectors of their mom. A situation began
building in late January, escalating in early February. As a result of communications
within his family over the course of two weeks a boy raised in an abusive environment
became terrified for his mom’s life at the hands of his father He went home to finally get
his mom out of the house and move her to Toronto. Feeling he had to be the man of the
house in his brother’s absence, he took a shotgun with him. And things went horribly
wrong. There is no credible argument that any member of the public at large needs

protection from Charlie Tan.

CONCLUS|ON

75. The ramifications for Charlie far exceed those of this case. Not only has
his education been irreparably damaged, he continues to face ongoing obstacles
Charlie is a not a U.S. citizen; he is a Permanent Resident. Charlie’s offense is a
deportable offense. Once he has served his sentence in the present matter, he will be
removed from the United States He will never be allowed to return to this country, never
even allowed to visit. All of his friends and family are in the United States This is an
additional significant punishment Charlie will have to live with for a lifetime

76. Based on all the factors of this case, the “parsimony clause,” and in

consideration of the §3553(a) factors specificaliy, the nature and circumstances of the

offense and the history and characteristics of the defendant, his remorsefulness his

23

community involvement, his age, and his pending deportation, it is respectfully
requested that the Court sentence Charlie to a total of 5 years incarceration, a sentence
that is sufficient but not greater than necessary. Such a sentence addresses the

seriousness of the offense.

Dated: October 29, 2018
Rochester, NY

Respectfuily submitted,

/s/ Brian Decaro/is

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TO: Lisa Fletcher, Esq.
Assistant United States Attorney

Janna Kuiakowski,
U.S. Probafion Dept.

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EXH|B|T A

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EXHlB|T B

Qing Tan
37 Coach Side Lane,
Pittsford, NY 14535

Aug. 30, 2018
Re: Charles John Tan
Dear Honorab|e Judge Frederick J. Scullin Jr.

l\/|y name is Qing Tan, | am Charles Tan’s mother. He is a good, kind, loving kid throughout his
whole life, he brought joy and happiness not only my life, but also to the people around him. He
is the reason l chosen to live and trying hard to survive the tragedies in my life.

l am writing to you in support of Charlie. We had been abused by my husband Liang Tan for
many years; l have been suffered 25 years of my marriage life and my kids had been since their
birth. Nobody should lived the life like we did, l plea and wish you consider lenient sentences
to Charlie.

l was born in China, a very poor village. When l was 22, the marriage proposal came to my
family that agreed for me to marry and to travel abroad meeting my future husband Liang Tan. l
barely can speak, read or write in English at that time and was looking forward to my new life.
But he started physical abuse me shortly after it, we lived in ireland for 3 years. When my son
Jeff was one years old, friends found out the abuse and took me to family court filed my first
protection order against my husband..after that he decided to move to Canada then US, Liang
Tan lived in a double standard life; one is with us like a family, when he bored of it, he would get
mad with anything, beaten me up, so he had a perfect reason to abandon us, as a part of his
punishment, he left us with no money to live, many times he turned off the phone/ internet
service, no A/C, no washing machine ( took the hose off it), smashing the things whatever he
can find ...then disappeared, he checked in hotel and spent sizable money on himse|f, he
enjoyed his exciting luxury moments: drinking, gambling and women.

He never been a good role model to his kids, never took time or spent times to be a father to
them. lnstead, He treated them like as part of me, make them suffer physically, mentally and
psychological traumatized them. l\/lany times, for my kids, l had to beg him came home ...so he
can brought some normal living conditions back to our life. He can’t hold on his job for iong, he
had been fired from Corning and Kodak in the past, l remembered that his manager stopped
by the house to talk to us afterward, he felt sorry for me and my little kids only as he stated,
told him he needed to control his temperament at work, and that was the reason they had to
fire him from Corning lnc.. He never has any friends and always blamed me or kids for causing
his anger and stress, through out the years, when he physically violating me, he would hid all
the phones, so it’s almost impossible for us to call for help, he also threaten the kids not to get
involved it, but every time, my son Jeff and Char|ie would woke up in horror and came over as
fast\as they could to protect me and prevented him to continue the beating...most of the time
they would get in trouble afterwards

One time my family doctor called on him because he beaten me up in the parking lot just
before my sick kid’s appointment, we lived in the shelter for months in Canada...at the time, l
was young, very scared, confused and don’t know what to do ...l\/ly family told me that after
the daughter’s marriage, | am the member of his family, l need to do better: obey, respect and
honor my husband. This is the old Chinese tradition: marriage is for lifelong, no permission to
divorce. He also promised many times he’ll change, but nothing really changed for better, he
started to control more and more: not allowed to have friends, anyone knows about his

violence would prohibit in my life, talking to my family on the phone needs permission and
under his supervision.

Over the years, l tried my best to be a good wife, mother. l understood he may not have good
income or work stress.. so l saves every penny from grocery to kids clothing, school supplies,
took care all the at home working responsibility, so he won’t be bothered...But still he had
every possible way to abuse me: mentally, physically and financially, Sometime he would hid
my keys or purse and blamed me had no brain of lost them, after he satisfied my anxiety
actions, he’ll make it magically appear again. He always blamed me cause his anger: if |’m
sick, he would be mad because the virus may pass it to him. lt made me very scared around
him, l tried my best not to cause trouble but somehow he always has a reason to beat me up
periodically. He won’t allow me to have friends, even like simply say Hi to neighbors or kid’s
friend parents would get me in trouble. l\/lany times, l wished to go to school to get educated or
get a job to support family but he wouldn’t allowed. He only give me weekly minimal money to
buy grocery, l’|l need to constantly beg for more money to cover the family groceries, kids
clothing, shoes and school activities..mostly for the basic living essentials .. He do not give me
credit card, any big purchase like car, house etc. solely is on his name only, l am simply his
house slave and punching bag, for littlest things like: dinner was not ready when he arrived
horne or accidentally saw me talk to neighbors which he did not approve it, he will beaten me
up, withdrew my only joined debit card to zero dollars, shut off the phone line, AC, and even
took out the license plates so l couldn’t drive for weeks..many nights when he beat me up, my
kids woke up frightened and crying... l thought many times of ran away, the reality with two
little kids in the foreign county, no work permit, no money, no family support, l thought it was
very difficult, beside that he repeated told me that he will kill me and my kids if l do things
“stupid “, every time when there’s news report on mass shooting, he’ll be announce his
comment on': if You try to leave, l’ll do it just like that. So where can we hide??

Over the past 25 years, we always dreadful towards weekend and holidays, whenever he is
around at home, the kids hid away in their rooms or stayed at friends house as much as
possible. l\/lany our holiday memories are destroyed by his drunken unlawful actions, he
enjoyed beating and torturing me as a part of his regular recreation, the 25 years we lived
together, he also brain washed me and the made me believed that there’s no way for me to ran
away from him, he has rights to decide when | could live or die. When he attacked me and
chocked me until l blacked out, unconscious ...he enjoyed his dominant, and after that he told
me that l needed to be good, if he “over reacted”, he really don’t know how to control his
action, anytime l could end up dead... l beg him to seek medical help, he refused it. l knew that
he has mental illness and he will choke me dead and dumping my body somewhere in the
woods soon. At the Christmas 2014, most family happily celebrated the holidays, l said my
goodbyes to my chlldren. l told them how much l love them and how proud l am to be their
mother. l accepted it is my destiny... l can’t escape from him.

Today, l plea to you, dear Judge, please consider that what happened to me, my kids in the
past 25 years is like living in hell, my husband was a monster! l have no family, my kids Jeff and
Charlie are the only ones l have, we love, care for each other very much, when l got hurt, they
felt pain..they are so innocent, they didn’t choose to born to this abusive family, they shouldn’t
live in this horrific environment, scared, worried and traumatized at their young age.

l\/lany times, after stormy night ended, my kids gather around me, we cried together.. they saw
me struggled, they tried to comfort me, l kept told them to remember how wrong and hurtful it
was, and made them promise me not to learn it from their father. l tried my best to guide my
kids to be a kind, loving, good people, instructed them study hard in school, so one day they
could get a good job and be independentl So they will break free from him. Both of my kids
are grow up with good, kind heart. Jeff graduated from college, he is working hard and has a
charitable heart in education. Charlie is an excellent student in school, hard worker, love to

volunteers in the community, he enjoys to help others and has been a very positive role model.
He was elected the volunteers of the year at Yl\/lCA in 2013 and also served as the youngest
board member at the local Yl\/ICA as youth group leader, At school, he’s honor role students,
has been a student leader served as school student treasury, VP of school president and later
all school president in Pittsford l\/lendon middle and high school. Elite football athlete in high
school and college,

l wanted to sincerely thanks to the communities pouring supports toward us after my family
tragic incident. l am a good, kind person, l should be alive with my loving kids and continue be
a good mother to them. l was stupid and wrong to accept the abuse, and because of what l
chosen this wrong path in life caused all or did my husband has the rights to abuse us ?? lf we
are your daughter, mother and sons, do we has the rights to live? He lt broken my heart facing
recent case against my son Charlie, deeply sorry for the pain, trauma and agony we- our family
will continue to cope for many years and sorry to the disturbing peace in the society. As Charlie
has ready to accept his responsibility for his action, l believe that as we move forward, he will
emerge a better person.

lt is my sincere hope that the court take this letter into consideration at the time of the
sentencing, desperate the current case, l still believe Charlie to be an honorable individual, a
good human being and a valuable member in the community. All of you wishes my family could
move on and live in a normal life. We can’t move on without my dearest son Charlie with us, we
had already suffered so much from years abuse and torture.. it will be a long recovery road for
all of us. Charlie has many challenges ahead of him, need to recovery from years of mental
traumatized. it will benefit his rehabilitation with love, care from family, friend and community
more than in the institution, Our family cannot moving on our lives without him, l cannot move
on my days without him. Charlie is a great human being, please help my family recovery,
please save Charles Tan.

Sincerely,

Qing Tan

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KELLY KLOVSTAD
9 Sugarland Riolge Rd Fairview, NC 28730

 

AugustBi, 2018

Hon. Frederickj. Scullinjr.
Re: Tan Famiiy

Dearjudge Scullin:

My name is Kelly Klovstad. l lived across the street from The Tan Family at 34
Coach Side Lane from l\/lay 2003 to September QOOQ.Jean and I spent many
days together walking our dogs, running errands, shopping, cookingJ taking day
trips and going to the YMCA. N either of us had family near us. We could count
on each other. I engaged Withjim Tan only a hand full of times.

As the months and years went by, l began to notice stress in the family, _]ean was
always anxious to get home before her husband so that she could have the house
cleaned and dinner ready l

When we shopped at Wegman’s,Jean would always buy several gift cards for
restaurants and retail stores. Later, I found out that these gift cards were used as
her safety net afterjim would cancel her bank cards, credit cards, cell phones,
and cable TV Jean told me that he would get mad at the family and this is what
he would do to get their attention It became a common occurrence Police
cars would show up at their home butjean never wanted me to know what
happened Several times l heard glass breaking on the walls of the house along
with_]im andJean arguing l\/lany times l saw bruises onjean’s arms. The only
time things were calm was whenjim Was out of the country,

One incident l was involved in occurred when l spent several days visiting at
Jean’s home. This wasjuly 29 -July 31, 2012. Gne day,Jean cooked a meal and
invited girl friends to her home.Jim became very cold and distant. We did our
best to Stay out of his way, His actions were those of someone that was very
jealous and controlling We would wait for him to leave before coming back into
their home While we were gone one day, Jim took apart the air conditioner so
that it no longer Worked. He cancelled_jean’s bank card, cell phone and the

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cable. rThat night we were all nervous and slept with our bedroom doors
locked. He did not return until after my visit ended.

l wanted to adeean to my cell phone plan and give her money but she would
not take any help.Jean’s cultural differences got in the way of her ability to
accept help. All l have ever been able to do to helpjean is to spend safe quiet
time with her.

In high school, the boys kept up very good grades and stayed active in sports.
High expectations were put upon them by their father. Once the boys were on
their own,Jean decided to leave Jim and move in mth]effery in Denver. Jim
became so furious that he cut off the boys tuition payments, rent and cell phones
untilJean would agree to return to Pittsford. The boys begged their mother to
be obedient so that they could continue receiving funds from their father. _]ean
eventually returned to her home Jean, Jeff, and Charlie tried to keep up a good
face thru all their mistreatment fromjim. No one ever really knew how difficult
it was for them or how much this family has suffered

Best Regards,

//OQ/% /°(/@odsé‘w/

Kelly Klovstad

§€5'“8’?‘?~?‘/3§`

August 14, 2018
TO: Hon. Frederick J. Scullin, Jr.
_ FROlVl: David R. Testa

SUBJECT: Charles Tan

Dearludge Scullin:

This letter is written to give support to Charles Tan, a defendant soon to come before your court for
sentencing

l\/lv relationship with Charles (Charlie):

l\/ly wife and children and l have known Charlie since about 2005, almost 14 years. Our daughter
Samantha was in Charlie’s class in school since Gth grade and our son Rich was two years ahead of
Charlie in school. Over the course of those years, l had several interactions with the young man at our
home, at sporting events and at school functions Charlie and l came to be very close friends - as are my
children and he - and had many conversations about business, college, sports, and general ”life issues”.
in fact, Charlie was driving from Toronto to Rochester last September for our son's wedding when he
was arrested crossing the border. immediately after _his arrest, Charlie asked me_to.hold Power of v
Attorney onrhis. behalf'andr-l, orco,urse,. aecepted. l point out these facts to illustrate thatlbelieve l am

as close to»'Charlie=as anybody_and;l believe .l know him as well,as anyi:)t_)cl_y_,,does.'yl j

Personal point of view:

lt is my unequivocal\opinion,thatiC,harlie isa wonderful young man a__nd an example of how a young
person can excel scholastically, excel at extracurricular activities and still be considered ""everybody's
friend”. Charlie’is extremely popular in his community but to him (and to his credit), popularity was not
a goal. His popularity came not from following trends or fads but by being kind to everyone he dealt
with, youngsters and adults alike. l’ve observed many examples of Charlie’s kindness and largess over
the years and it is why my wife and l felt 100% good about our children counting him among their group
of friends, Rather than follow peer,pressure, Charlie had a very unique way of leading and causing
people to do the right thing just by setting an example. Charlie demonstrated that it was “cool" to do
the right thing and to think for yourself, rather than doing wrong just to ”get along” - a very rare quality
in our world. That attitude continues into his adulthood. Some very random examples: '

0 For a school project, Charlie made a video called ”Random Acts of Kindness” in which he is seen
presenting a beautiful rose to people in very different circumstances: kids sitting at a sidewalk
ice cream stand; a police officer sitting in his car; firefighters at the fire station; senior citizens
walking down a sidewalk; a clerk at a grocery store; a very young child'_wa|king with his mother
hand'-in-hand`;~etc.~»lt was not only well done, it sent a message we a_l;l,,need to hear. ~ ' ` `

¢ Charlie wanted to volunteer at the local YMCA. He went to the facility, told them his thoughts
' * and was "accepted.,as'a.volunteer~~wonking with all clients. '_Hisrelationship-building was so
"rema'rkab-le', he was asked to.~sit'on» the board ~ he was the first young person invited to ,

' participate at that level and:l am told'his thoughts and behavior were highly regarded.by:other
board members. v t .r _ .

¢ Charlie voluntarily tutored children who, for whatever reason, were struggling with school. One
special needs child in particular responded so positively to his visits that her mother has become
one of Charlie’s greatest supporters and has said that if she could choose, he would be the son
she wants.

The stories and examples are many and their common theme is that this young man wants to do good
and help others. He never was looking for compensation or recognition in any of his acts of kindness,
many of which are known, but many others of which are known only to Charlie and one or two others. l
told Charlie a George Steinbrenner quote he credits to his father, and that is, ”lf you do something nice
for somebody and more than two people know about it, you're doing it for the wrong reason" and l told
him he fits that nicely.

ln sum, Your Honor, l believe it would be a tragedy well beyond that which has already occurred if this
young man were to lose his chance to grow up, to help others and to reach potential. From the time of
his trial until now he has suffered a great deal - from trying to re-enter college, to finding challenging
work, to establishing a ”permanent" home. Resolution of his sentencing will determine just how much
he is able to re-group and be a productive, contributing citizen.

Who am l?

To put my comments in perspective, l offer a bit of background, for no reason other than to point out
that l guess l would be considered a ”solid citizen”. lam now 70 years old, worked at a high level in a
large corporation, founded and owned a successful company; l have been a Deacon in my church and
am an Elder in that church; l watched my four children complete college and l feel blessed with a great
family and great friends,

`/:?" aid s?"“`\;ag
‘€>lis ll't>

August 23, 2018

Honorable Frederick .|. Scullin Jr.
Senior US District Judge
Northern District of New York Federal Court

DearJuclge Scullin,

l\/ly wife and l would like to provide a character letter on behalf of Charlie Tan. As introduction, l am
Gorclon Scott Valentine, Operations l\/lanager and Ethics Officer at Lockheed l\/lartin, and a graduate of
the US Naval Academy and the University of Rochester. l\/ly wife is l\/laureen 5. Valentine, PE, professor
and department chair at the Rochester institute of Techno|ogy, graduate of `l"ufts University and Virginia
Tech. We have known Charlie since 2011, when he became one of our daughter's friends at Pittsford
l\/|endon High school. We have had the opportunity to see Charlie interact with our daughter, her
friends and our family in multiple roles over the years; such as an athlete for Pittsford l\/lendon, as the
Student Council President and as a friend. in each case, he has presented himself in a polite, respectful
manner showing maturity and a caring nature for those around him.

We still recall the first time we met Charlie. We were watching our daughter play softball and Charlie
was present to support her and the team. He had the self-confidence and communication skills to
engage a number of parents, including ourselves, in a mature conversation lasting 10 or 15 minutes.
This type of interaction is atypical of a high school student and stood out in our minds as we realized
that he had the character to succeed in the business world in the future. This was one of many times
that Charlie extended himself to support his friends at their activities. His presence was constant at
friends' sporting events throughout the school year, after finishing his own varsity football obligations,
demonstrating his caring nature to his friends and classmates. One notable example was when he made
the effort to ride with us to Albany, NY to cheer on the l\/lendon’s women's basketball team at the state
championships, demonstrating his continued commitment to supporting his friends.

Charlie impressed us as a high school student to the point that we trusted him to come into our home
many times and become a part of our lives. Charlie was one member of a larger group of friends that
often spent time at our home. Reflecting back on those events, Charlie stands out as the one teenager
who took the time to come speak with us direct|y. He would spend a few minutes chatting, telling us
about events at school, asking us about our plans and thanking us for hosting. Beyond showing his
maturity by talking with us, as adults, he demonstrated an outward helpfulness. l_ooking back on a
summer celebration at our cottage, we hosted a rather large |unchtime gathering with many family and
friends. After the meal, most people ventured off to the water to enjoy the day. But as was typical for
Charlie, he had his good friend Josh stayed back to assist»us with the cleanup of the meal without being
asked. Teenagers are not known for these types of actions and his willingness to help demonstrated to
us his character.....giving of his time to demonstrate his appreciation rather than just walking away to
have fun.

Charlie often demonstrated his desire to take care of others. ln January of 2014, my wife was diagnosed
with breast cancer. Our daughter shared the news with a few friends as some of them had similar

experiences with their own mothers. Charlie was one of the few that took the time to visit while he was
on break from Cornell, bringing flowers and spending a few minutes with her to brighten her day. He
knew there was no way to improve the situation but demonstrated his caring nature by sharing of his
time.

Clearly, we believe Charlie has integrity and have observed how his outward exuberance always lit up
the room. We will stand by his side as we recognize the character of the young man we knew over the
past seven years,

Sincerely,

Mggjgww%@ m

Gordon Scott Valentine and lVlaureen S. Valentine
11 Squire Lane
Pittsford, NY 14534

 

August 29, 20th

TO: l~ion. Frederickd, Scullin, Jr.
FROl\/i: Sandra A. Testa
SUBJECT: Charies Tan

Dear Judge Scullin:

This letter is written to give support to Charles Tan, a defendant soon to come before your court for sentencing
l would like to share with you some of my thoughts, feelings, and impressions during your consideration

Ourfamily has known Charlie for almost 10 years now. Our son (Riohie) played football on the same high sohooi
team, they enjoy playing video games together and enjoyed just hanging out from middle school through high school
(our son is two years Charlie’s senior)i

Our daughter (Samantha) and Charlie are part of the same circie of friends from 6th grade to present Charlie was

.President of their senior class and a very popular kid. Chariie is such a joy to have around He is very polite,
inteiiigent, wiity, kind and seitiess.

The Charlie that my children and'we are familiar with is one of kindness, well mannered, and always wearing a great
big contagious smiie.

Charlie has always been popular with children, in his neighborhood on Coach Side Drive one would often see Charlie
playing with younger kids in the neighborhood tie volunteered at the Yl\/iCA because he liked coaching children,
After Charlie’s original trial in 2015 was deemed a mistrial, Charlie lived in Chicago and often baby sat for his
neighbors children

the day before Charlie voiced the guilty pleas in Federal Court House in Syracose, Chariie asked me to send a
birthday card and gift to his twin God-daughters who were turning i year old the next day. That seliless act brought
the girl’s mother and nieto fears With ail that he had on his mind and all that he was facing he wanted `the»giris to
have something for their birthday from their God father.

We (Charlie‘s friends and their parents) were not aware of the horne life that Charlie and his brother Jeffery endured ,
untii February of 2015. Char|ie and Jeffery were raised in a family parented by two Chinese born parents and that
ethnicity is one who protects the privacy of intra“f`amily happenings at all costs

Since learning of the facts behind many calls to 911 from the Tan home over the course of years, and hearing the
testimony of many witnesses during Charlie’s first trial, it has been my desire that Charlie feel loved and he part of a
tight knit and loving family unit . We have included Charlie in our famify activities so that he feels a part of something
special Every child deserves to be loved, nuitured, protected inspired and celebrated

Over theiiast couple of years, Chanie has grown to rely more on our family lt has always been hard for him to ask for
anything i\/iy husband David seems to have become Charlie’s surrogate father. i am so proud of the exampie that
my husband plays in Charlie’s life and l am happy for Charlie because he recognizes this too. David provides the
example of how a man loves his_family outwardly, how its ok for feeling emotions and how to articulate those
emotions to others

Even though my husband and l try to visit Charlie oiten, Charlie and we exchange letters Charlie sands us cards on
our birthdays, Mothers Day, Father's Day and thank you notes in between holidays And, the letters that we get
back from Charlie are titled with words of appreciation Charlie has written more than a handful ot times_, “One day l
am going to make you proud of me,” The most recent card read in`part, “Thanks for always thinking of me,
everything from inspirationai ouotes, advice, books sennonsirom your church, and your constant love and support
l\lo one else in here has someone like you, and l’m grateful for you every day l love you." This young man has a lot
of heart And`he shares the inspirational quotes with his prison mates who, too, have come to look`torward to my
ietters to Charlie, Th'at’s Chariie, always trying to help others

in November ot 2016 l met Charlie for dinner one evening and he was excited that he felt he found a niche. l~ie
wanted to work with troubled youth He express to me that helping youth who have had a brush with the law was an
opportunity for him to do some good and mentor young adults of all races Because he is not white or black it wouid
allow him to connect with all races for them to see him as their equal, Charlie feels confident that they would open up
to him and quite possibly listen to his~(Charlie‘s) life lessons learned

lt is a shame that he has not been able to compiete his bachelor’s degree lie has so much potentiat, and he could
do great things for the community it given the chance He had a second chance in October 20i5, but that chance
was stripped from him on September 22nd 2017, at the Canadian border while oh his way home for our son’s-
wedding.

l believe in my heart that Charlie is not a threat to society lt is important to remember that this all occurred when
Charlie was only 19 years old. lt is equally important to consider that Charlie, who is now only 23 year old, has a
brain that is still developing

As l mentioned earlier in my letter, Charlie has a tot or heart lt is my greatest concern that a long term ct
incarceration might produce a much different Charlie, nn excessive amount ot time served by Charlie in federal

prison and forcing him to grow up in prison would be a great injustice That concerns me very much Your leniency is
what l hope 'for.

thank you for your consideration for receiving this note and for the time yourotlice is taking during this very
important determination

l pray for you, as l pray for Charlie,

Sincerely,

area

Sandra A. Testa

  

Hon. Frederick J. Scullin Jr.,

To sufficiently convey the enormous impact that Charlie has had on me ~ and to do so in a
concise way - is a difficult task. Charlie and I have been extremely close friends since junior
year of high school. We were frequently classmates, demanding of ourselves high success in
honors and AP courses. Charlie had a contagious academic spirit, confident that any class,
assignment, or problem could be conquered with perseverance. We were teammates, playing on
the same soccer club team for two summers in a row. Charlie often captained the team not
because he was the best player (he really wasn’t) but because he led by example, put his body on
the line for the team, and sparked a collective energy we didn’t know we had.

And yet, perhaps the most telling relationship we shared is that of workout partners. More
accurately, Charlie was my pro bono fitness trainer. We saw each other all the time at the YMCA
during our senior year of high school, often working out (he would coach me) or playing
basketball (I would coach him) together. Following my freshman year of college, Charlie saw
that l had fallen out of my routine and asked if I’d like to be his workout partner all summer. I
had no idea what I was getting into, but I agreed

During the summers after our freshman and sophomore years of college, Charlie would drive to
my house at 8 AM every day to pick me up on the way to the YMCA. A welcomed presence in
the l\/Icl\/Iann family household at any time or day, Charlie would walk in and spur me out of my
bed on those days where I slept too deeply to wake up to my alarm or his phone calls. “No days
off,” he would say as Ireticently climbed into his car. Even when I lived in Boston for two
months for a research internship at Harvard during the summer of 2015 , Charlie would text me
every day to make sure I never skipped a workout.

Charlie once joked that if he bothered to charge me for the personal training and encouragement
he provided me, I’d owe him hundreds, if not thousands, of dollars. With time I’ve realized he’s
right. He saw that I had struggled with self-confidence issues and had failed to turn my workouts
into a steady routine. He embraced these challenges, and in a way, he made them his own. He
taught me how to workout effectively and motivated me to become more disciplined He would
tell me that it only takes 30 days for you to look and feel better, 60 days for others to notice, and
90 days to get yourself in great shape. l’ve never bothered to research these claims, because I
never had to - they worked He knew how to get me to cut through excuses and make progress.
Charlie invested a lot in me when he didn’t have to. Even better, he got me to invest in myself
As my confidence grew and Charlie realized the immensely positive impact he came to have on
me, we grew to be closer friends than ever. Since my summers working out with Charlie, I have
kept up with my healthy habits, too.

Charlie and I have been close friends for years, but the positive impact he has on people is not
Something that I uniquely experienced I truly believe that Charlie views everybody as having
some kind of untapped value, and accordingly treats each new encounter with an interest and
curiosity that draws people in. He epitomizes the spirit of the phrase “a stranger is a friend you
haven’t met yet.” His friendship is not difficult to attain. At the gym, Charlie knew everybody A
few years prior, Charlie had volunteered for an entire summer at the very same YMCA, so he
would start off by saying hello to everybody in the office and at the front desks. lt would

sometimes take us 20-30 minutes to actually start a workout because Charlie would greet all of
the trainers and staff, say hello to the parent of a classmate he’d see on the elliptical, spot
somebody’s squat or bench press, maybe even recommend new workout music to somebody he
had talked to once before. Everybody he met became a branch of a larger tree, and Charlie
sought to spread these branches far and wide.

Since we became friends, Charlie developed unique and special friendships with my brother,
sister, mother, father, aunt, and cousin. Into each, he invested time, effort, and thought. He would
ask my brother if he could try skateboarding with him sometime when I wasn’t around. He asked
my sister if he could see her graphic design portfolio, towards which he heaped immeasurable
praise. When I was away, he would go over to my house to watch Michigan football games with
my dad and help my mom clean or do yard work, He even developed a close friendship with my
aunt Suzy and young cousin Dyllan. Dyllan is on the autism spectrum and struggles with
structuring many of her daily tasks, so Charlie took it upon himself to buy her some school
supplies and show her how to pack and organize her backpack. When Dyllan failed to realize the
generosity behind Charlie buying her folders because she preferred purple, Charlie went back to
the store and got her the right colors. The most telling part of this, l think, is that I didn’t know
that any of this happened until my aunt told me the story. That’s just the kind of person that
Charlie is ~ your relationship with him is personal, intimate, and rooted in a deep respect and
kindness that you don’t often find in a person.

For everybody Charlie knows, there’s a similar story. I’m sure you’ll read several more of them.
He has been a true and loyal friend to me for as long as l’ve known him, so much so that I will
never cease to support him in return. He would do the same for me, as he would for so many
others that he has come in contact with him. When I think of Charlie, as I often do, l think
mostly about how Charlie is capable of bringing so much love and positivity into this world, and
I hope that my perspective serves to illuminate this fact in advance of his sentencing

Sincerely,
Connor R. Mcl\/lann

September 5“1, 2018
Dear Honorable Fredericl< J. Scullin Jr.,

My name is Suzanne Mcl\/Iann, or Suzy to my family & close friends
I arn 61 years old, l am a single mother with a 16 year old daughter adopted
while married to her father from Columbia. Dyllan has Aspergers, she was
she was ours at birth, and spent six weeks in Bogota for our adoption. Thank
you for allowing me to provide insight to how Charlie is an important part of
our family, and how he always will be.

In 2012, Dyllan and I met Charlie while he was in high school when
children become young adults Charlie is my nephew Connors very good
friend, We got to know each other at many dinners over a sports event,
Michigan football or basketball, Super Bowl, playoffs, or a Birthday dinner,
he was my favorite to sit by and to converse with.

Charlie was quiet, polite, and seemed to be interested in engaging
Dyllan in conversation As a mom, we really needed that kind of person in
that part of our life, not knowing of her spectrum issues Every time we were
over my brother’s house, and Charlie was there at the dinner table, it was fun
for Dyllan and she was part of the conversation with her new friend. Mind
you her cousins are terrific with her. But Charlie was different

Charlie asked if he could come over to the house and help Dyllan with
her school studies Spanish, Global, and Math. And organizing her
homework projects, Which impacted her studying habits like never before,
and helped her see a brighter future as well. Dyllan didn’t socialize, with
much of her peers, as she was only interested in electronics or any other
screens. Charlie talked to her, and he got her to engage in multiple
conversations about bullying, school classes, and she was enjoying
everything at the time! I would sit and even listen to the two talk Spanish to
one another! l wished he was her older brother not once, but every time we
were together, l then realized if I were to have Charlie as my son, he would
be a gift from god.

We bonded, Charlie came over to our house, and he would help
Dyllan prepare from school from 7th to 9“‘ grade. He tutored her, he brought
school supplies to her, helped her navigate classes, and he secretly returned
the original black binder that he got her for school to the color purple which
was her favorite, as a surprise for her. Charlie would come to the kitchen and
take over cutting vegetables, set the table, and we would catch up about
where we both were at with regards to nutrition, school, and exercise We
are a health-conscious family with our diet in foods, and he fit in perfectly

If miracles were available to me, l would give mine to Charlie. He’s
one of a kind young man, and l am proud to know and love him. Please take
care ofhim, he’s so very young and been through so much,

Sincerely,

Suzanne McMann

August 13, 2018

Tracy and Chris Flynn
6713 Pine Bank Drive
Naples, NY 14512

Hon. Frederick J. Scullin Jr.:

Charlie Tan was a very close friend of our son, Sean, starting in Middle School and hence became a part
of our family as well. For many years, he and Sean would go back and forth to each other’s houses.
They played football together in lVliddle School. Charlie would spend the night at our house frequently..
They went together to school events, dances, etc.

Our oldest daughter grew up with Charlie’s brother Jei'~f. She told us some stories about going over to
the house and there was always a lot of yelling and screaming going on. We got the impression that
Charlie’s father was very demeaning to Charlie’s mother and it made the kids uncomfortable We would
later hear about other incidents that were even more concerning that we were not aware of at the time.

Sean and Charlie continued their friendship throughout their high school years and we saw Charlie
frequently. There was a whole group of kids who hung out together often at our home.

As Charlie grew older, he would come over sometimes and just hang out with my husband, Chris, and
me even if Sean was not home. l remember one time that was so incredibly sweet when Charlie asked
my husband to please teach him how to cook dinner for a new girlfriend l thought it was somewhat
odd at the time that he did not go to his own father or mother but l also thought it was sweet that he
asked my husband. Moreover, I realized that it was symptomatic of a deeper issue at homel He bought
all the food and came over, they cooked together, and then Charlie brought it to his girlfriend’s house.
lie was truly appreciative and had a lot of fun cooking with Chris. The first time he brought her over to
meet us, he was so excited. lt felt like he was bringing her home to meet his own parents l can still
picture the huge beaming smile on his face. When Sean was away at college, Charlie still stayed in touch
with our whole fami|y. For example, he came to my daughter's High School play and brought her
flowers or he would come over and watch football with us,

He is one of the most generous and caring people that l know. He would literally give you the shirt off
his back if you needed it. He always greets you with a giant smile and a hug. He brings me flowers,
sends me cards and always lends a helpful hand. From the day of his release from the |Vlonroe County
Jail and all during the first trial in Rochester, Charlie lived With us, There was no one more willing to help
around the house, lf l drove up the driveway with groceries, he was the first one out the door to come
help me bring them into the house. He insisted on doing the dishes after l made dinner. He always told
us how much he loved us and appreciated everything we did for him. He became like a brother to all of
our children.

Charlie is also one of the most dedicated and committed student and athletes that l know. When he set
his mind on something, he got it done. l~le had amazing grades and everyone in school liked him. He
exercises religiously and eats extremely healthy to stay in shape. He has a tremendous amount of
willpower. He is extremely supportive of my own efforts to work out, encourages and now trains
others to be healthy as well.

We continue to stay in touch while he is in the Cayuga County Jai|. We have visited many times and we
send cards and notes to one another. He calls every couple of weeks. Every time we talk, he wants to
know how everyone else in the family is doing and never talks about himself. He does not complain at
all (except maybe for the lack of vegetables).

l sincerely hope that the Court can show some leniency on Charlie’s sentencing based upon his
character. l know in my heart that Charlie will continue to be the person that he is and will be a strong
contributing member of society.

Sincerely,

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Tracy and Chris Flynn

Honorable Frederick l. Scullin Jr,

l\/ly name is Chris Ando|ina and l am a friend, fraternity brother, and former roommate of
Charlie Tan. l wanted to write to you today to tell you about the Charlie Tan that l know and the
type of friend that he has been to me over the years.

l first met Char|ie in the winter of 2014, right after we both joined Chi Phi at Cornell. As the
pledge class president, he was a leading presence for us as we went through the new member
education process, always leading by example. l remember when there was a prank played on
the class and | was very uncomfortable with the position we were put in. ln the end it Was all a
joke and no one was forced to do anything, but in that moment we exchanged a look that
eased my mind conveying that we saw eye to eye and he had my back if we needed to stand up
against the brotherhood Admitted|y, l didn’t have the easiest time after entering the public
school system in lthaca inthe 7th grade and l struggled all therwa~y»~through~high school to make
friends. Cornell was a fresh start and finding a friend like Charlie was an important thing for me.

Charlie was often occupied by Sprint football and school work, but he always made time to
hang out with us, whether that be at parties orjust dropping by our room for a few minutes
before he went to the library. l always admired the way that he conducted himself, being able
to balance a thriving social life with athletics and strong academics. He always put his friends
first and was very loyal to all of us. He always tried to emphasize not worrying so much about
the material substance of things, instead focusing on relationships and insisting that what goes
around comes around and that you get what you give.

After his departure from the house l remained close with Char|ie and every time l got to hang
out with him after was a cherished memory. When he wasn't allowed back to Cornell he moved
to a house in college town and we hung out regularly, which was awesome because when
everything happened in February l was crushed because l had no idea if or When l'd get to see
him again. But thankfully, despite all that’s gone on, l’ve been able to maintain a good
relationship With him and looked forward to every opportunity l had to hang out again like we
still in school.

One of my favorite memories with Charlie is when he called me up out of the blue on a Sunday
and invited me to come down to Atlanta to go see the Falcons play the Seahawks in the NFl_
divisional playoffs. He had invited a small group of us to come down and we spent the weekend
meeting his friends, eating great food, and watching the Falcons pummel the Seahawks. We
offered to reimburse him but he flatly refused saying that he Wanted to thank us for always
sticking by him and supporting him through all that he had been through. lt meant so much to
me that he thought of me as a close friend and wanted to share such an awesome experience

The last time l saw Charlie was in the spring of 2017. He came to Cornell for slope clay and
surprised all of us in the process. As was almost customary, we went and worked out together
and then joined up with a larger group of friends for lunch where he said ”through thick and

kit

thin, you all have been there. When l come visit, this is all l really need." That meant more to
me than l can put in words.

People sometimes ask me why l continue to support Charlie in the midst of all these allegations
For me the answer is simp|e: the Char|ie that | know is a good person and a better friend who

has always put himself before others. And at the end of the day, l know that he would do the
same for me if he were in my position.

With this, l hope l have conveyed my experiences with and feelings about Charlie as best that l
can, and l hope that this helps you with your decision.

Sincerely,

Christopher Ando|ina

To: The Honorable Frederick J. Scullin Jr.
From: Lucy Shephard

Date: August 31, 2018

Subjcct: Remarks on Charlie Tan

Dcar Hon. Frederick J. Scullin J'r.,

My name is Lucy Shephard and l am best friends with Charlie Tan. l know Charlie from
attending Cornell University, I met Charlie the first week of freshman year in 2013. l can
remember exactly how we mct. l was walking out of my dorm building heading to Sprint
Football practice and heard someone call out to me nom bchind. Charlie was leading a group
and saw that I was wearing a Sprint t-shirt; he asked what my affiliation was, I was going to be a
manager for the team and I was headed to practice He, as well as the group, were also going to
join the team Hc said, “Wcll now that we’ve all met and wc’rc going to be on Sprint to gethcr,
we have to be friends.” And from then on, wc’vc done just that. For the past 5 years, I have been
best friends with Charlie Tan.

~I don’t usc the term “best friends” li ghtly. Deiincd by the Mcrriam-Webstcr dictionary,
the term best friend is “ones closest and dcarest friend.” My relationship with Charlie consists of
that, but it is also so much morc. To me, a best friend is someone who you admire. Someone who
you look up to and rcspcct. Someone who encourages you to bc the best version of yourself A
best friend is someone who makes you laugh and knows how to make you smile no matter what
the situation is. A best friend is someone that would do anything for you and who you would
want to do anything in return for; anything in your power. Through this lottcr, l hope to paint a
picture of the real Charlie Tan, my best friend. The extremely kind, loving, compassionate,
intelligent individual who is so young and has thc potential to live a full life ahead of him.

I admire Charlie because of his intelligence Charlie was an Applicd Economics and
Management (AEM) major within the Collcge of Agriculturc and Lifc Scicnces (CALS) at
Cornell University. Beforc attending Cornell, Charlie graduated at the top of his class at Pittsford
l\/Icndon High School. Hc took many AP, college credit classes while in high school and came
into Cornell with requirements already completed While at Cornell, Charlie maintained a 4.0
GPA throughout a majority of his scmesters. He obtained such high grach as a Division I athlete
and active member of his iraternity, Chi Phi. Although l was in a different major than Charlie, he
always helped me with my Schoolwork. l attempted to take a calculus course and he always came
to my dorm room to help me with my problem sets. He would never do the work for me no
matter how hard I pleaded and was always patient in helping me come up with the answer
Charlie was so disappointed when I dropped the class, but he continued to give me old textbooks
for my other classes and recommendations for books to read in my free time. Charlie has read
through most of the books available to him at the Cayuga County Jail. I send him news articles to
keep him updated on what is happening in the world; to keep his mind active. Charlie was unable
to complete his degrcc. Cornell would not admit him back in as a student and despite applying to
other colleges across the country, he was denied by almost everyone Charlie was finally

admitted to a small college in Chicago, but he decided not to graduate Neither the students nor
the professors took the education offered seriously; he was too smart for it. Charlie had
aspirations of becoming a businessman and owning his own business. Despite his intelligence, he
will never be able to accomplish this on his own if he is never given a chance.

I admire Charlie for having the largest and strongest support system that l’ve ever seen.
Everyone wants to be Charlie’s friend He gives off such positive energy and is so likeable. As
soon as you meet him, you immediately want to be friends with him. Walking around Cornell’s
campus with Charlie used to be like walking around with a celebrity. Even as a freshman, he
knew everyone and they all knew him; upperclassmen included Charlie is also one of the least
judgmental people I know and always sees the best in people, While he has been at Cayuga
County Jail, l have visited him and written him letters. He always tells me stories about the other
inmates. He tells me their nicknames and how most people cannot read or write; most never
attended high school. Instead of turning his back on these people, Charlie befriends them,
Known as “Chuck,” Charlie has helped one of the inmates write a book. He has also organized
groups to play card games and to exercise; they play basketball and do push-ups with each other
on their backs since few weights and equipment are provided When society has turned its back
on these inmates, Charlie has welcomed them, He has given them a chance and shown them that
they are worth something I’m so honored to know Charlie and to be a member of his support
system.

l look up to Charlie and respect him for all of the hardship that he has endured, that he
was born into. He has bottled all of it up for so many years and you would never know. You will
always`tind Charlie with a smile on his face and finding something to laugh about. Charlie is one
of the strongest people I know and he has tried to do all of it on his own. Famiiy was something
that he never had Charlie had the institution, but not one that fully supported him. Family is
everything Famin crafts you into the person you are and who you will become. Unfortunately,
Charlie was born into a family that turned its back on him. His family has and will continue to
negatively impact him for the rest of his life, He shouldn’t be punished for that; something that
he could never control. Despite having grown up in a broken family, Charlie always talks about
how he wants to get married and have at least 5 kids. He wants to provide for a family that was
never able to provide for him. He‘ wants to love and be loved in return.

I hope you have seen the shape and colors of Charlie Tan. Your decision impacts
Charlie’s future, whether he is given the opportunity to shine brighter or whether his already
flickering lights blow out. Charlie has the potential to add so much value to society. He deserves
a chance.

Sincerely,

Lucy Shephard

Honorable Frederick]. Scullin,]r.

F ederal Building and U.S. Courthouse
P.O. Box 7336

Syracuse, l\lY 13261-7336

Your Honor,

l am writing to you to attest to the '”character of Charlie Tan. l realize the gravity of the situation that
Charlie is currently in, and l wanted to provide my thoughts regarding Charlie from a personal
perspective that may not have been immediately evident in court proceedings Over the course of
nearly the last five years, l have known Charlie to be a good man who looks to go out of his way to
help others. Charlie has helped me feel comfortable in tough times. Charlie was a leader in his
communities As you consider all relevant information over the course of Charlie Tan’s sentencing, l
want you to know that Charlie was kind, respectful, and looked to as a leader among his peers. l am
sure that these traits will continue to run through Charlie regardless of what happens next in his life.

Cornell can be a tough place, and nineteen can be a tough age. This is when l met Charlie Tan. We
immediately connected upon joining the same fraternity at school. ln a place that can often seem
more designed for the social elite of New York City and the rest of the world, Charlie was markedly
different Charlie is friendly and immediately makes connections with many of those around him.
Also being from Upstate New York and a former high school football player, Charlie and l were on
common ground `

As many second semester freshmen,`Charlie established himself as a leader in our fraternity. He
would often take on necessary, but undesirable jobs of the benefit of those around him. He would
coordinate logistics and manage people He would ensure safety and responsible activity at social
events. He was a leader in my class when we joined Charlie did all of this with the utmost respect
for others This fact made those around him to have deep trust in him.

The summer following the summer, l visited lthaca from my hometown of Endwell, near
Binghamton. l\/ly parents and a few other relatives were with me. We unintentionally ran into
Charlie. Charlie was so outgoing and friendly to my family He greeted my family with a glowing
smile and warm introduction lt was a welcoming and warm sight. Charlie helped make me feel at
home at Cornell. ln the following months when Charlie’s legal proceedings began. l\/ly parents
assumed they had never met my friend when they heard the news. When l informed them that it
was the nice man that greeted them on Edgemoor Lane in lthaca on a beautiful summer day, there
was a true dissonance in their heads between the Charlie they met and the Charlie in the news.

The following year, Charlie and l decided to be roommates. Charlie, myself, and Chris-a third
friend from Upstate New York_all lived a large roommate in our second year at school. Charlie
was a model roommate. He lived a clean lifestyle and was extremely courteous as a roommate,
Again, Charlie was a good friend through these situations Admittedly, around this time, l distanced
myself from the fraternity and spent much time that year focusing on academics. As such, l was not
around our room as much as others that year. Charlie would check in with me to ensure l was doing
alright He was there for me, and though we were not the most vocal friends, l knew Charlie was

there to support me and others around us. This added a layer of comfort to what was a challenging
year.

Over the winter and when incident in question occurred, l was shocked and confused l did not
engage with the news very much, lwithdrew, and l struggled to comprehend the situation There-
was a palpable change in my friend group and a notable gap without Charlie

l am not sure if my thoughts on my friendship with Charlie shed any new light on him as a person.
However, l am sure that you will receive many letters like this, l felt compelled to share these
thoughts with you today, and l am sure many others will feel just like l do. Charlie is a loyal friend
Charlie is a deeply respectful person. Charlie was a role model for those around him. There are many
factors that you will consider in Charlie Tan’s case, but l want you to consider these letters as well.
Whatever comes next for Charlie, these things about Charlie will remain true. l hope that you can
appreciate the support and love for Charlie among his friends; this should reflect on the character of
Charlie Tan. l realize that the decision around what is next for Charlie will be hard, but know he has
positively touched those around him. l-lis deep loyalty, kindness, and respect will continue to define
him as a person.

l hope that you thoughtfully consider this letter and the other letters you receive relating to this case.
l am happy to answer further questions relating to this or provide more detail relating to these ideas
as needed

Sincerely,

Adam W. Shelepak
301 East 90th Street, Apartment 4C
New York, NY 10128

Capital
KBS
Group

Honorable Frederick J. Scullin Jr.

Senior United States District Judge for the Northern District of New York
Federal Bullding and U.S. Courthouse

P.O. Box 7336

Syracuse, NY 13261-7336

September 3th, 2018

RE: Charlie Tan

Your Honor,

a freshman Was admittedly short. However, we share a unique bond that brought us together
closer than any other member of his freshman class -- we both were elected to lead our
incoming pledge classes as president, competed in sports, and shared the same Applied
Economics & Management major.

lt’s a dauntlng task to navigate the challenging course load of a first-year |vy League student,
maintain the responsibilities of a varsity athlete, and lead a class of young men through a
fraternity, but Charlie excelled in every aspect He is a hardworking, efficient at managing his
time, never stressed and was well-liked by anyone who met him. He is flercely loyal and

me,

He certainly understands the trouble he is in and he would like to learn from this experience to
grow and move forward with his life in a positive dlrection. l believe that any prison sentence
will serve as an incredible hardship on himself, his family, and his friends Charlie is an
extremely intelligent bright, and promising young man whose life would be irreparably
damaged by any sentence Your honor, please contemplate my testament to Charlie’s
character and consider leniency. Charlie is a gift to this world and we must allow him and more
like him to walk the Earth and bring harmony to his community

Thank you in advance for your help and support to Char|ie Tan in this critical time.

_Etespectfully yours,
l re
/‘” a M/';>

Russel| E. Browning Jr.

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To: Hon. Federick J. Scullin Jr.
_ From: Robert Pannullo

Date: August Zl, 2018

Re: Charlie Tan

Dear Judge Scullin,

Every day that Charlie Tan remains incarcerated is a day that his communities are deprived of a
special person who changes lives for the better. With this letter, I respectfully ask that in your

sentencing decision you consider the person Charlie is as well as what he means to his communities

Charlie was my first friend at Cornell. It was August of 2013 and I had just been dropped off at
the Varsity Sprint Football locker room to receive my assigned my locker. Without my friends and
family beside me, l was nervous and anxious about the unknown years ahead. That was when I met
Charlie, my new teammate. I could tell he was special within seconds He made me feel important,
something I later would learn he has a natural gift of doing to people Over the next few years I watched
his interactions with others, each time astounded by the specific details he would remember about any
conversation On my 20th birthday, Charlie gifted me a football signed by Tim Tebow, the player I had
told him was my favorite months before He didn’t just remember because he is smart He remembered

because he cares. That is who Charlie Tan is. Thoughtful.

Over the next year and a half, I watched Charlie excel inside and outside of the classroom He
truly was a star, positioned to graduate from Cornell a full year early if he chose to do so.
Unfortunately, after the trial of his first case concluded, Charlie was not allowed to return to Cornell. lt
pained me to see my friend in this situation After applying to various colleges, he would report back
that his efforts continued to'be fruitless Yet any time l would ask how I could help, he would refocus

the conversation to how he could help me or anyone else. Again, that is who Charlie Tan is. Seltless.

Although I wasn’t sure how I could help Charlie then, I am sure now. I can encourage you to
consider what he means to me. What he means to us l can help you see the kind of person he is with the

hope that you will consider this in your sentencing decision

Charlie’s personality and the situation he is in have significantly influenced my own life
Observing what has happened to Charlie inspired me to attend law school immediately after graduating
from Cornell. One particularly applicable lesson I learned in my first year came from_my legal writing
professor, the Honorable Denny Chin of the U.S. Courts of Appeals for the Second Circuit. Judge Chin
stressed to us the' importance of empathy in sentencing for a judge You have the opportunity to
exercise empathy when sentencing Charlie The people he has impacted for the better need him back in
their lives Phone calls and visits temporarily satiate the yearnings for his positive influence in our
communities. They do not, however, compensate for the lives he can change of those he knows as well

as those he does not.

Charlie has served time for what he has done. lt is time we ask that you consider the person he
is, the people he influences and whether this world is better with Charlie incarcerated or in the
community making a difference The answer is clear. Thank you for your consideration of this letter

and the letters of others in your decision.
Respectfully,
Wd)¢)¢¢¢%

Rob Pannullo

August 28, 2018
To Hon. Frederick J. Scullin Jr.,

My name is Caleb Minsky. We have never met, and likely never will, but l write to you on this
day to beg for your clemency. I went to college with Charles Tan for two years, and for that time
was lucky enough to call him a friend l ask for forgiveness on behalf of not just my friend
Charlie, but also to the benefit of my generation, one popularly characterized by laziness,
carelessness and selfishness. l do not dispute these generalizations for through my own
extensive interaction with our peers I have, in many cases, come to a similar conclusion
However, among an era of newly minted adults who value appearance above action, Charlie has
always stood apart

Ihaven’t seen him for several years, for our college expelled him, and l have done a poor
job of staying in contact, but Charlie is a tough man to forget His easy smile, sincere eyes and
warm voice still stick in my mind as I cobble together these feeble words in an attempt to
describe my friend, lt is my intention, Judge Scullin, to provide whatever shred of human depth I
can, to the extensive legal arguments you have likely heard l am far from a legal expert, so l will
make no attempt to add to these F rom what little I do know about our judicial system, I realize
that you are one of its Stewards, charged with determining the best course for society, when
presented with those that have crossed the law. After hearing what I am sure is a deluge of
personal statements about Charlie Tan, l hope you will conclusion will be the same is ours: that
our generation and country are far better off with Charlie than without him. `

l got to meet Charlie within my first few days of arriving at college, because we both
joined the Sprint Football team. For the next two years we would become teammates, but the
sole Story l will present you with comes from a computer lab rather than a locker room or
practice field. I was not in the same school as Charlie, but at one point during the spring of our
freshman year we happened to be working in the same place Let me correct that, l was working,
Charlie had already finished the project his fellow business students Were struggling to complete
correctly. Initially l wondered why Charlie was still in the lab, with his feet up, smiling as we
chatted briefly before l began to work on a separate assignment It became clear when I heard
someone call his name, and saw him stand, his smile never wavering, then proceed to help his
classmate

He continued like this for the entire time l spent in the computer lab that Thursday night
Most of our peers were out at parties, besides those of us stuck trying to meet our academic
obligations And in a curved class where his classmates failing would only benefit him, Charlie
spent his night helping them succeed He did so regardless of their status on campus, or
background, providing aid to all who asked At this point in my time there l had realized that our
university was filled with people obsessed with wealth and status, but that fact that people like
Charlie also called it home made me feel better about attending Looking back on it my
friendships with Charlie and our other teammates helped carry me through that first year, and I
owe the fact that I have a diploma in part to him.

l will not burden your time any further with more examples ofCharlie“s generosity and
kindness, forI am sure this is one letter from many written by others whose lives were positively
impacted by him. Judge Scullin, we ask for your lenience not only because we love Charlie, but
because we know he is capable of greatness, that our generation needs more men and women
like him. He now stands ata crossroads in his life, and I ask that along with whatever
punishment your experience deems is necessary, that you provide guidance to a young man born
onto an abusive father. Hopefully with your help, along with our support, he can work to
overcome his circumstance pay his debt to socie , and eventually thrive and help others thrive
once again What happens next in Charlie’s life is on his shoulders alone, but l plead to you,

Judge Scullin, to help lighten the load. l greatly appreciate you taking the time to read this letter
and others like it, l hope you find that it wasn’t Waste . ~

Sincerely,

Caleb .l. lVlinsky

Hon. Frederick J. Scullin Jr.,

As you make your final decision regarding this case, l hope you take some of these words into
consideration l\/ly name is Kelsey l\/iapstone, l grew up on a dairy farm in Central New York and attended Cornell
University, l am writing this letter on behalf of Charles Tan. l know him better as Charlie; a hardworking, ambitious,
and caring friend. As with many of the others who write letters, mine will encompass a relationship that was made
and strengthened throughout the years at college Charlie was able to complete, and even more so the years that
followed. Starting as a college friendship, Charlie and l still write many letters while he waits, and while l have been
able to visit him in jail only a few times, l am glad to be a friendly face that can give him a big hug when | do.

| met Charlie on the first day of school at Cornell in an introductory biology section. Seeing that Charlie
was wearing a sprint football jersey, l knew we would click automatically. Having family members play in the past, l
ended up joining the role as a team manager. Starting out havingjust one class together grew into much more. As g
a manager of the football team l was required to go to all team practices and travel to all games Clearly spending
an abundant amount of time with the players l was able to share in the emotional wins and losses, Char|ie of
course being among that. Right off the bat Charlie showed himself as a loyal and caring friend, With many mutual
friends and even more common interests, our friendship grew throughout the rest of the year and of course into
the next, up until Charlie left. Though those years Charlie would be one of few that cheered me on in person at my
gymnastics meets. l\/lany late nights of heartfelt talks about the typical college transition turned into talks about
family, life and everything in between. At this point l would trust Charlie with anything

l think the bigger challenge of a friendship was tested in the years post Cornell; where our friendship
wasn’t based on the classes we shared, the friends we had in common or various Greek-life based events
attended After Charlie left |thaca, l was lucky enough to get Charlie’s new phone number and from there we kept
in touch. l visited Charlie in his home town, and he was able to visit mine. While | was down south for a summer
working l spoke to Charlie weekly, if not daily, on the phone. Any amount of time between seemed to dissolve as
we could pick up right where we left off. Always able to make me smile and laugh, Charlie was able to keep a
challenging past from polluting his interactions with myself and others. While in Florida, l was able to visit Charlie
for an extended weekend at his residence down south. Over two months l spent away from family and friends, not
knowing anyone. Being able to see Charlie was just like home. l truly care for him and it saddens me to see the
continued strain this case has brought to his life. l was able to see a part of Charlie’s life that not many others did. l
saw who l knew in college, the football player and ambitious Cornell student But l also saw the foundation of new
friendships made and the hope of a life away from such a,weighted past.

Someone as strong as Charlie is can teach incomparable amounts of lessons |earned, and l was lucky
enough to be a recipient ofjust a few. l could speak of a singular incident where Charlie showcased loyalty, love,
dependability However, those traits encompass notjust one, but each and every interaction we continue to have.
l will continue to write letters to Charlie, and although we have only known each other for six years, l am glad to
have such a lifelong friend

Thank you for your time in reading these letters
From a dear friend, '

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Kelsey |\/lapstone

 

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Bcnjamin Grecnbcrg
1 1077 Grande Pincs Cir. Apt. 6133
Orlando', FL 32821

August 25, 2018
Hon. Frederick J. Scullin Jr.

l first met Charlie Tan in August of 2013 when he became my teammate on the Cornell
University Varsity Sprint Football Team. Charlie was an exemplary teammate and it was a
privilege being.ablc to play with him for two seasons Charlie was loyal, diligent, kind, caring,
and supportive. Charlie was a responsible teammate and always put thc team before himself Hc
always worked very hard and never slacked off, whether at practice or working out in the
offseason. Not only did Charlie meet and exceed his personal responsibilities he made it a
priority to make sure all his teammates made it through their own challenges on the field and off.
I can distinctly remember that during one offscason workout, we had to continuously run up the
stecpest slope on Cornell’s campus while carrying our teammates on our backs, piggyback style.
As many of us struggled, including myself, Charlie not only met this physical challenge with
endurance and athleticism, he encouraged all his teammates with enthusiasm, energy, and
unmatched positivity as we fought through extreme mental and physical fatigue. Not only did he
literally carry his teammates, he mctaphorically carried us to the finish line by encouraging us
and demanding us to be our best selves. l personally learnt more about my will power and grew
as a person that day, because Charlie Tan supported me through adversity.

Charlie’s leadership skills, especially as an underclassmen, were extraordinary As someone who
didn’t play football in High School, as my school didn’t have a team, it was very easy to get
down on myself and frustrated Picking up a new sport, at 18, that my teammates had played
their entire lives was an incredible challenge Every day in practice l would be overpowcr<:d by a
stronger teammate, or miss a block due to speed and athleticism; and every day l would get down
on myself and discouraged sitting by my locker for hours. Yet everyday Charlie Tan would tell
me the things l did wcll, was improving on, or an ability or skill that only l brought to the team,
to pick me up and get me enthusiastic to continue playing this sport that I love so much, Each
time that I thought l would get bcnched or cut, Charlie picked up my spirits by complimenting
me, telling a joke, or sharing a piece of knowledge that Would help me improve my awareness
and technique as a playcr. lmight’vc been a year older than Charlie, but l ccrtainly“often looked
up to him as both an athlete and as a leader and teammate. l wouldn’t have met my goals in
football as a student athletc, and ultimately in my professional experiences in thc Jacksonvillc
Jaguars and Cleveland Browns scouting departments, without the support of Charlie Tan While
he was my teammate. No human is perfect, and Charlie has made mistakes, but 1 hope that you
consider the positive impact that Charlie has made on the lives of the people that he has touched
l know l would not be the man l am today if l wasn’t blessed enough to have met Charlie Tan,
and been impacted by the loyalty, love, and support that he showed to me as his teammate,

With greatest rcspcct,

Bcnj amin Grcenbcrg

Grace A. Vetromile
120 Main St, Unit J

Tuckahoe NY, 10707

grace .a.vetromile@gmail.com

August 27, 2018
Dear Hon. Frederick J. Scullin Jr.,

I am writing to you because I am a friend of Charlie Tan. I am currently a teacher in a New York
City public school, where I teach 8“‘ graders who are aged out compared to the rest of their peers.
I had the privilege to get to know Charlie while We were both students at Cornell University. In
light of the charges Charlie faces,l am happy to Write this letter regarding Charlie’s strong
character. I hope my letter is helpful to you in your determination of his sentence in October

I’ve known Charlie for exactly 4 years now, as l met him in August of 2013. I met him on the
first day of our freshmen year at Cornell University, He lived in the same dorm as me, the Low
Rises, and his room was one floor exactly above mine.

Charlie was one of my first friends at Cornell. When l first met him, he went out of his way to
get to know me and my roommate, I remember sitting in the lounge of our dorm for a session
with our RA. He sat right next to my roommate and me and immediately introduced himself and
asked us questions about ourselves. As someone coming from a small high school,l Was
intimidated by the prospect of having to introduce myself to new people, Charlie took that fear
away when he took the initiative to get to know me. Charlie was like that with everyone. He was
so gregarious and knew so many people around campus, that When I Would walk with him to
class, We Would stop so many times to say hi to other people he knew. He went out of his way to
get to know all sorts of people at Cornell.

Charlie has always been an incredibly loyal friend to me. He is one of those friends Where no
matter what the issue is, he will always have your back and be there to support you. My
freshmen year l had to spend the night in the hospital. When I came back to the dorm, he was
one of the first people to come to my room to check in on how I was doing and see if I needed
anything. I had no doubt that he Would go out of his way to get Whatever I needed. Whenever he
knew something was going on With me, he always reached out to see how I was doing and to
make sure I was okay.

These are just a few examples of Charlie’s strong character. He_ has always been there for me,
and so when I Was presented with the opportunity to write this letter to you, I knew this Was my
opportunity to be there for him. While Charlie admits to this federal charge, l believe he deserves
leniency in his sentencing because of his strong character. Thank you for your time,

Best Regards,
Grace A. Vetromile

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Honorable Frederick J. Scullin Jr.

Your Honor,

l\/ly first interaction with Charlie was on our very first day of college, In fact he was the first
classmate that l had the chance to meet that day. We were meeting with our football coach and
gathering our equipment for the season. After a quick introduction it felt as if we’d been friends
for a long time already.

That friendship only grew as time passed. We played the same position so we remained together
through practices and weight lifting sessions All those hours, every day, pushing each other
physically and mentally; it created a connection that can only be forged between those who have
been through those tough moments together,

Charlie’s one of those people who makes those around him smile, no matter what kind of mood
they are in or how their day has gone. Despite its overuse, he’s the type of person whose smile
invokes others to smile as well. It’s as if he brings about an aura of Sheer happiness with his
presence and demeanor. And if l may be candid for a moment, he’s truly, truly, one of the most
~ genuine people l’ve met. Most people will put on some sort of front in the majority of their
social interactionsl It may be slight or it may be drastic. Regardless, Charlie is not one of those;
his sincerity and heart are real, and that makes every interaction you have with him feel like you
matter and that he cares. He makes you feel valued. He makes you feel that you do matter.

In a world where coldness and hardness are in abundance, Charlie serves as a warmness that
betters every individual around him and, in general, society as a whole; he and his heart have a
way of making the dark days seem brighter which is something everyone needs in their lives. l
am forever grateful that our paths crossed when they did for l can wholeheartedly say Charlie
was my best friend during our time at Cornell and our continued friendship has undoubtedly
made me a better person.

Thank you for your consideration of my words during this process.

Sincerely,

Ryan Jackson

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The Honorable Frederick ]. Scullin, ]r.
Dear judge Scullin,

I met Charlie Tan my first Week at Cornell University and just like most people l Was
immediately won over by his cool demeanor, undeniable charisma and huge smile.
Charlie joined Chi Phi Fraternity With many of my other friends; that, coupled With
the fact that we Were both athletes meant that Charlie and l spent a lot of time
together in his first short stint at Cornell.

Like most, I Was devastated When l found out Charlie had been arrested, but Was
determined to remained friends When Charlie returned to lthaca our Junior year
Cornell told him he Wasn't allowed on campus or near the fraternity house so he
rented a place next door to Where I lived. l was also going through difficult times so
Charlie and I spent almost every day that semester playing cards, Working out or
doing anything to distract from the looming problems at hand. Charlie Was one of
the few friends l had that Was there every single day, not always to ask how I Was
doing, but just to hang out,

We continued our friendship When Charlie Was no longer permitted near campus,
and I invited him to spend Thanksgiving in Kentucky with my family and me. Every
year We have a ”country style” Thanksgiving With around 40 people in and out of
our house for the entire Week; which, can be very difficult for someone not used to
that, especially if they come from a difficult home. Charlie fit right in winning the
hearts of every family member and friend that stopped by or Stayed over that Week,
prompting my grandmother to even offer to adopt him. I Would like to point out that
if l felt even the slightest bit uncomfortable with Charlie staying at my house With
my family, I never Would have asked him to come.

Even since the trial process started, Charlie and l have remained in close contact.,
writing letters When We can’t get the phone call timing quite right. l have seen
Charlie as part of my family ever since that Thanksgiving. However, it wasn’t until
my mother asked if she could send him some homemade meatballs and sauce While
he was awaiting his sentencing date, that l knew Charlie had made his way into all of
our hearts.

I, just like my family, friends, and nearly everyone else that interacted With him at
Cornell, miss Charlie Tan for his constant support, kindness, friendship and of
course, his smile.

Sincerely,
Raymond Reed Brewer

Matt Bruhn

410 Kelleher Dr.
Landenberg, PA 19350
August 28th, 2018

Hon. Frederick J. Scullin Jr.,

I’m writing on behalf of my friend Charlie Tan, who l believe is coming up on his sentencing
soon. l want to try to help make as obvious as possible that he’s a good man who deserves some
mercy.

I’ve known Charlie since his first days at Cornell; we played Sprint Football together, both on
the defensive side of the ball. Even just through interacting with him in team sports, I knew this
kid had a great heart, was dedicated, and knew how to lead. He was always the one pushing us
on in the drills, pushing us in the weight room trying to make everyone better, make the team
better. lt seemed he always had an innate sense that leading by anger, by yelling, doesn’t do
anything but make you resented. lt seemed he knew the best way to lead was by example, that’s
why he always worked so damn hard. Even besides that, he’s just a great guy to be around. He
makes you laugh, he’ll tease you, he’ll help you out, he’s just a good, good friend There’s few
people that I think would have any reason to say otherwise

I also had the privilege of getting to know Charlie even better through our fraternity Chi Phi.
Again, he arose as a natural leader in his pledge class, elected among them to be the Pledge Class
President. That might’ve been maybe under a week of knowing the other 18 guys in his class,
and even that quickly they all knew he was best suited for it. l don’t think it ever crossed
anyone’s mind that it was a poor choice, once again he led by example, he worked the hardest,
and he picked everyone around him up, elevating the entire house, That’s one of the reasons why
so many people are drawn to him, why so many people like him: he brings out the best in you
when you spend time around him. He doesn’t settle, he has a strong sense of what’s right and
what needs to be done. It’s why I’m damn proud to have him as my Little in the house, You
know how hard it is to try to be a role model, the “Big Brother”, for someone like Charlie? He
basically eclipsed me as the role model in our relationship by the beginning of sophomore year.
It’s unbelievable, humbling, inspiring being able to see him grow beyond me and become such
an incredible young man.

Your honor, I’m only asking that you be thoughtful in your consideration of Charlie, and be
thoughtful in how through Charlie, this effects all of us: his friends, his family, and his brothers

Best Regards,

Matt Bruhn

Hon. Frederick J. Scullin Jr.,

To be completely honest, l do not even know Where to start When talking about Charlie
Tan. Charlie Was and is the most entertaining, fun-loving, charismatic, interesting, feel-good
person l have ever met He had an aura around him that said “l can go to him for anything, and l
know he Will deliver.” He was someone you know you can trust, someone you know that Would
drop anything to help you out, and someone you just wanted to be around l-le Was one of my
closest friends going into the incident and l couldn’t believe What happened When I saw the
news.

l played football With Charlie, lived next door, was in the same major, and Was in the
same friend group, so safe to say, l was around Charlie a lot. There are three things that stand
out that make Charlie extremely unique, first, is that he brought people'together. ln our first
semester, one of Charlie’s friends sang in an A Capella group, Before college, l never thought l
would ever go to an A Capella concert l did not know the person performing and l don’t enjoy A
Capella music all that much, but Charlie inspired 10 of his friends to drop their plans on a Friday
night and go to this concert The ten of us didn’t really know each other either, but Charlie
brought us together, and We all had a blast VVhen l hung out with Charlie, | never knew who
Was going to be there, kids from footbal|, fraternity members, class mates, but it didn’t matter.
Charlie Was incredible at melded groups of friends together.

The next quality is his humor. Not only is Charlie a clever and funny individual, but his
laugh is contagious l remember hearing him in both sides of the locker room and just laughing
to myself hearing it One story that always makes me laugh is the time l got volunteered by our
coach for an article in the sun. Along With the article came a picture, and l wanted my
teammates to be surrounding me in the photo. They made us take a few pictures, some serious,
some humorous. ln the serious photo, l remember there were 6 of us, five standing up, one
person on a knee. l Was in the middle with two people on either side. All six of us Were stone
faced and serious. Taking a closer look, you Will see Charlie, all the Way on my left, With a
serious look on his face, but sniffing a stick of deodorant, and ljust laugh hysterically Whenever
l see it

The last thing that made him special was his memory. l am not talking about simple
memorization or classwork related l am talking about his memory When it came to people. You
never had to introduce him to someone twice. You never had to tell him your brother’s name or
age a second time. He always remembered the tiny details you told him, because he actually
cared about people and getting to know them, This is why people Were attracted to him like a
magnet lt is Why you never saw him alone.

Charlie is a great person and a wonderful friend lt is incredible to see and hear how strong he is
been throughout this entire process, When l talk to him, he seems in good spirits as if We Were
on the football field just messing around l miss him a lot and arn very excited for the next time l
see him. `

Sincerely,

Chris D’Ambrosio

Hon. Frederick l. Scullin lr.,

l\/ly name is Ben Kroll and lam writing to you on, behalf of my classmate, teammate, and friend Charlie
Tan. l have been lucky enough to know Charlie since his very first day as a second grader at l\/lendon
Center Elementary. We were classmates in l\/ls. Bellisario’s class that day in 2002 until Professor
Poczter’s class at Cornell University in 2014. 12 years of classes, school lunches, after school play dates,
sleepovers, football practices, and just plain 'old hanging out, The point l am trying to make your Honor
is that Char|ie and l have spent a lot of time together in many of different settings with many of different
people, ln these experiences, you are able to see and learn a lot about a person, directly and indirectly.
You learn their strengths, their weaknesses, their passions and even their fears. lam not going to tell
you Charlie is a perfect person, not deserving of any punishment you may bestow on him. Charlie Tan is
just as guilty of the crime he admitted to as any other person to have committed that act. To say
anything to the contrary would be wrong, insincere, and do nothing for you to understand the message l
would like to deliver on his behalf.

The message that l would like you to receive, and a message l feel like lam qualified to deliver,
is that l know that any environment that Charlie enters is a better place for it, l have seen it repeatedly,
both being a part of it and watching from a far. For some reason or another when you are around
Charlie Tan, no matter the situation, you want to be better. Whether it be a better student, a better
football player, a better friend, orjust an overall better person, there is something about Charlie that
brings out the best in yourself He is a servant leader in every sense of the definition and displays
selflessness that is rarely seen these days. l know it is your duty to deliver a punishment worthy of the
crime and l know that Charlie needs to atone for his crimes, but l also know that there are people
everywhere that could use a man like Charlie Tan in their lives. He is a special type of person that does
not come around often, and | believe that our communities are a better place with him than with him
confined behind a prison’s wall. | appreciate you taking the time to read my message, and hope you take
what | have written into consideration

Best,

Ben Kroll

Noah Travis Shephard
1101 S. Kings St - Stillwater, OK 74074
315.380.2530 ' noahtshephard@gmail.com

August 31, 2018
Hon. Fredrick J. Scullin Jr,

l am writing in regard to the sentencing of Charles Tan. l had the privilege of knowing
Charlie during my undergraduate career at Cornell University, specifically within the realm of
the Sprint Football program and the Chi Phi fraternity. During out time together, Charlie
expressed nothing but love, admiration, and comradery in our affiliations, but more paramount,
in our personal friendship, In writing to you, I wish to unveil the personal connection I had with
Charlie and his importance in my life, through a few small, but significant instances l hope you
can keep my personal experiences with Charlie in your mind while you contemplate his

sentencing

I first met Charlie through the Sprint Football program when Charlie was a freshman and
l was a junio.r; we were both on the defense, Charlie a defensive back, and I a linebacker. During
the first practice, despite the psychological and social barriers that often bar freshman from early
interaction with upperclassmen, Charlie introduced himself to me with a smile on his face and
began questioning me on defensive schematics. Initially l was taken aback, “Who is this guy?
Why is he asking me all these questions? Does he realize that he is a FRESHMAN?!” were all
thoughts pumping through my mind l soon realized that his interest and demeanor were sincere

and honest. As a quiet and reserved person, l rarely pursue dialogue with someone l don’t know,

and much less a new freshman on the football team! Charlie’s gregarious manner and extension
of friendship meant a lot to me during our first interaction and still does to this day. He helped
me understand that he was a special individual who strived to be your friend ~ independent of

how long he knew for or differences that separated you,

Later on Charlie became a brother in my fraternity, and soon we became close friends,
bonding over the sacrifices made to play football and academic struggles at Cornell. During a
brief break from practice and school, a group of teammates and brothers decided to hike l\/It
Marcy (NY’s highest peak) to escape campus, convincing Charlie and l to tag along.
Unfortunately, my grandfather died a few days before, and I was attending the memorial service
before our big hike. Emotionally, I was a wreck on the inside, and struggled to keep my
composure as my friends picked me up from the service to trek our way up to the mountain As
the car rolled up to me, l took a big breath to summon some testosterone and prevent an
embarrassment from happening in front of my buddies. l threw my bag into the trunk and opened
up the back door, and there was Charlie with a huge grin, “Hey whattup, Shep?? Good to see ya!
Ready to hike a mountain?” he said with warmth. 1 soon realized l was right where l needed to
be, within the comfort of a resolute friend, displaying the unyielding love that only happens once

a lifetime
I hope this letter find you in a good place and aids you in your decision
Respectfully,

Noah 1`. Shephard

am

 

 

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September 7, 2018

Sean F lynn
6713 Pine Bank Drive
Naples NY

Honorable Judge Frederick J. Scullin Jr.:

Charlie has been a dear friend of mine since about the start of middle school. We have known
each other since we were on the same youth soccer team in fourth grade, around the time we
started to hang out together. l remember I liked him because he was a very goofy, fun-loving
individual, and we had similar senses of humor, even at that age, When we reached middle
school, we started to have classes together, as previously we went to different elementary
schools. We quickly became close friends and would spend hours together doing what kids do:
playing Video games, playing games outside, or just watching TV/movies together. We often
spent our time at his house behind a closed door just off of his living room.

Even at a very young age, I became quite accustomed to hearing Charlie’s father yelling at his
mother, and I simply chalked it up to being something cultural that l didn’t understand,
especially because the yelling was always in Chinese. Charlie always seemed embarrassed that
we had to hear what was going on. Nonetheless, Charlie’s mom would later come into the play
room with a tray of hot food or snacks for us to eat and was all smiles, despite all of the yelling
and screaming that had just occurred.

As we grew older and started to have larger social circles, Charlie always seemed to serve as the
glue between multiple somewhat disparate groups of friends. He was always funny and
easygoing, so he was an easy friend to a lot of folks that might not make friends so easily. He
was especially good at befriending kids in classes that he sat next to, even if the kid wasn’t
“cool” or they “didn’t had the right friends”. He was very good at remembering birthdays and
would always give you some type of card or goofy present, and even remind you when one of
our friends’ birthdays were coming up so you wouldn’t miss it.

When we got to the age of being able to drive and visit each other’s houses we would sometimes
drop in to each other’s houses randomly. I remember Charlie being very adamant that I knocked
before entering, which wasn’t too uncommon for friends to ask. I remember times where l would
neglect to do so, and he would be red in the face and so concerned that I didn’t knock before
coming in. One specific time I opened the door without knocking to see all of the Tans quickly
coming up from the basement looking like they had seen a ghost or were just caught red-handed
It was burned in my memory because it was so unusual, but it didn’t make any sense really until
years down the line.

I remember that he always wanted me to stay the night after hanging out, even when it didn’t
make a lot of sense like having an early morning practice. I always thought that he just really like
to have sleepovers for whatever reason. I used to fight him on it at times, so l could sleep
comfortably in my own bed, but he just wanted to have a friend with him in the house.

September 7, 2018

l did a lot of musical extracurricular activities growing up, and Charlie would always volunteer
to usher at these events, so he could definitely make it. He would always stay after to tell you
what a good job you did and either give me something goofy or give flowers to my Sistcr for her
part in the play or concert. The kicker is that he didn’t really enjoy musicals or select choir, he
just knew that these things meant a lot to me and my sister, so he was sure to attend and support
us, He has always been very thoughtful that way.

By the time we reached college age, Charlie and I would communicate often to see how things
were going and he would always remind me l was always welcome to visit him at school. When
I finally took him up on the offer one day, he was so gracious and bought my dinner at the dining
hall. He was careful to introduce me to all of his friends by name and tell us what things we had
in common. He was unbelievany good at bringing his friends together. When it finally reached
time for us to go to bed l remember him building a makeshift bedding on the floor, which I
obviously assumed was for me to sleep on, He told me that the bedding on the floor was for him
to sleep on, because he “always slept on that bed, and [I] was his guest so [I] should sleep
comfortably”. It was this kind of altruism that always made Charlie Such an amazing friend to be
around.

During the first trial, Charlie became a personal trainer of sorts to me and several of my friends
He would organize times for us to meet up and work out together, and always motivate us and
push us to do our best. He was so good at doing this that it was somewhat infectious, as l took
his workout plan and brought it up to my friends from school in Vermont. He was always
cooking healthy meals for us and showing us how easy it was to eat plenty of vegetables

We have continued to stay in touch this entire time be it by phone or mail. He called me just last
weekend to make sure l was having a good time on Labor Day Weekend. All he ever wants to
talk about is our lives and what’s going on with us, It seems like he doesn’t want to burden us
with his troubles. He is so selfless that way, Even when I directly ask about something
troublesome he always responds with something like “Oh you know, I’m doing just fine” and
manages to change the subject to something pertaining to me.

I will always love Charlie like a brother, and all l want for him is for him to receive the same
graciousness, kindness and sympathy that he gives out to the world.

Hon. Frederick J. Scullin Jr.

l have been friends with Char|ie Tan for more than eight years and throughout that time,

| have only known him to be a caring, compassionate, and motivated person. Charlie and l went
to high school together and remained extremely close even when he was at Cornell and l was at
R|T. l was able to see first-hand how much positivity he could bring to our entire Pittsford
community, whether it be through athletics, academics, orthrough his day to day interactions
with others. Charlie is a benefit to any community he has found himself in and brings his energy
to anyone he comes across. lt would be a loss for everyone if Charlie was not able to influence
the community in such a positive way.

Charlie is a motivated person who cares more about other people’s success than
himself, He took nearly every /-\dvanced Placement class and thrived in them, yet you would find
him helping others outside class and studying with friends Char|ie is both academically and
socially skilled and succeeds in any environment and learning style he is put into. Our friend
group is very intelligent most being near the top of the class, and Charlie would push us every
year to do more and be the best we could be. During freshman year, he signed a group of us up
for I\/lath League where we went against schools across the area in group and individual math
questions He encouraged us all to come and test our knowledge and was able to bring our
drive from athletics, into the classroom Charlie also motivated me to take AP Statistics because

he knew math was my favorite subject He took it the year before me and would help out With

tell Charlie cared so much about the success of his friends and peers and Wanted to help them
however he could.

Charlie is also an incredible leader, not only by role as he was our Class President, but
he is also a leader by action. During the rainbow classic, a basketball game that raised over
$50,000 in two years for Golisano Children’s Hospital, Charlie was the one leading cheers

games and the bad l still am not sure how he did it, but while being in academies class

could be. Char|ie knew l was playing college sports and would push me to wear weighted vests,
race his dogs, do one more rep, and go one more mile. He was motivation during every workout
and every gym community he has been a part of, has felt the same Way. Char|ie is one of the
strongest leaders l know throughout every aspect of life.

Not only is Charlie motivated and a leader, but he is also one of the most caring guys l
know. He checks up on all of our friends and would do anything to make us happy. Charlie
would come to the park with us and hike in honor of our friend who passed away, and he came
to a concert with me for my birthday even though he did not like country because he knew it was
my favorite artist. Nearly everything he did, he thought of others first which was even apparent
during his “Random Acts of Kindness” video that he created for Psych class. Charlie also
touches way more than just peers, as my family and many others adore him. When my mom
was going through Chemo, Charlie would come back from Cornell and drop off flowers to keep
her encouraged and strong during a very difficult time, He was the one that would always bring

food and drinks to my big family events and would stay back to help clean up and chat with my
parents. Char|ie cared about everyone so passionate|y and the positive small acts that he
continues to make, showjust how genuine of a person he is inside and out.

Charlie effortlessly makes others close to him feel special, and any community would
benefit greatly from having his energy around l miss him and the happiness that surrounds him,
every day that he is not able to be with us, Thank you for taking the time to read this and | hope
you too can see just how great of a person Char|ie is.

Sincerely,
Anna Valentine

To the Hon. Frederick J. Scullin Jr.,

My name is Jacob Grossman and | am a 23 year old student living in Rochester, NY and
attending Monroe Community College. My friendship with Charlie Tan has stretched well over

10+ years dating back to when we met in the 6th Grade.

From the very early days of 6"‘ grade until now, Charlie has been an incredible friend,
classmate and teammate. Despite looking like two totally different people as l was always
one of the biggest guys and Charlie was one of the smallest, we connected and bonded
immediately with the love we both shared in our hearts and our passion to make others happy
and to smile. My relationship with Charlie has been just that of everyone else who was able
to call him a dear friend: Amazing. Of everyone l graduated high school with, in 2013 from
Pittsford Mendon High School, Charlie was one of the few people who “Got it”. Whenever he
would run into my Mom, Charlie was always quick to open his arms for a big hug. When we
coached 5-10 year olds as part of our Varsity football volunteer coaching experience, Charlie

worked with the younger kids and l can still see the smile on his face now.

Charlie is someone who regardless of whatever was going on in his own personal life, was able
to still smile and spread positivity. l don’t know if you have been able to view the Youtube
Video “Charlies Random Acts of Kindness” but that is who Charlie Tan truly is. He is a person

with love to share and spread.
My respect for this court is in the highest regard, and l greatly appreciate the courts time.
Sincerely,

Jacob Grossman

DearHon'. Frederick J. Scullin Jr.,

I have'had'the pleasure of knowing Charlie Tan for.several years now. Throughout high
school we had always had a few mutual friends but our paths didn’t cross too much. Our
sophomore year, I lost one of my best friends, l\/Iolly, very suddenly to an illness Charlie also
knew;Molly', and we saw each other a lot those first few months atf events:and'vigils being held
for herr From that first day I saw`him in the school gym the day after she had passed, he had
always been there for me and my friends if we ever needed to talk or even just get our mind off
of things Charlie and I became really great friends by this point, and we spent a lot of time
together during our lunch periods and after school before our sports practices As time went on
we became even closer and eventually realized that we cared for each other more than just being
Hiends. We began to talk about hanging out, just the two of us outside of our usual group, We
had made plans to meet up after his Sectional Final Football game in 20`12. I was an avid athlete
in high school, who Would have been extremely upset after a loss that he and his team had
suffered that night. I had assumed that he would want to cancel our plans l was wrong, he said
he wanted to hang out more than ever to get his mind off of the loss in his final high school
football game. When I arrived that day, I remember thinking to myself that I wish I could have
the same composure and mindset that he had after a tough loss. He simply said that it was

upsetting;_ but there was'nothing:that he icould`do about itand`he didn’t want'to dwell. We ended

up:hangi_ng outparid talking all night The next week we began dating '

We had only been dating for a couple of weeks andvhe wanted to meet my_parents.» l was
a little nervous as I had never really brought any boys home to meet my parents but he insisted
that he wanted to get to know them. He got to know both of my sisters and parents very well
over the next 9 months that we were dating My parents got to know Charlie very well and
appreciated his constant respect My sisters also loved Charlie, He always asked about them and
how their lives were going, As the youngest of my family, they were always protective of me.
They knew I was in good hands with Charlie, He was always my biggest fan, and came to every
single one of my sports games during our senior year, which was a lot. By the end of our senior
year I had expressed that I did not want to be in a relationship by the time I left for college. So
we decided after a long talk that we would stay together until we couldn’t anymore. About 3
weeks before I left for college we decided that we loved each other, but we needed to try and live
our own lives apart from each other in college. We never wanted to hold each other back and left
our relationship behind with no regrets

Over those 9 months together, l learned a lot about myself and Charlie. l learned that a
hug from Charlie Tan could immediately change your mood for the better. I learned that when
something was wrong, he was the first person that I could talk to about it knowing that he was
listening and truly understanding me. I learned that there are good people in the world that truly
care about who you are no matter how unique, And even after we had broken up, l still truly felt
this way, Over the past 5 years l have always had Charlie there to care about me when l didn’t
think others did, He always encouraged me to chase after my dreams and to never hold back in

anything that I do. Charlie Tan changed my life for the absolute better. He taught me how to
have confidence in myself, and that was something that l have always struggled with. He was not
only a great boyfriend, but he still remained one of my best friends after we had broken up, and
I’m not sure many people can say that about their former partners Charlie Tan changed my life
for the better, and I will always be grateful that he chose to be a part of it.

Sincerely,

Courtney Case

MWC€@@Qn

Maggie Mcl\/lahon
94 Hammocks Drive
F airport NY, 14450

Nobles & DeCarolis September 9, 2018
45 Exchange Blvd.

Suite 275

Rochester NY, 14614_

To Hon. Frederick J. Scullin Jr. -

Charlie Tan was a close friend of mine in of high school. He dated one of my best friends for
years, and l had known him since middle school. Most notably when l think of Charlie, l think
about how he consistently acted with kindness Below are a few examples

For years, he sent carnations to our friend’s little sister in middle school, so she would feel
special on Valentine’s Day.

l gave a speech at a school ceremony very shortly after my best friend, Molly Thomas, passed
away. l was nervous and emotional beforehand, and he hugged me, held my hand, and told me l
Would get through it. Idon’t know a lot of high school boys that would do that as a casual act of
friendship

He gave me cards for Christmas and my birthday. Never presents, but the sweetest cards that l
still have and occasionally read. They were kind and sentimental. He planned out what he would
write in my yearbook for days and wrote long paragraphs describing me and the adventures we
had gone on to gether. I know that sounds trivial, but it was some of the nicest words anyone had
spoken about me, and he meant what he wrote. He was a good friend.

He took me out for lunch and ice cream on random occasions We would sit on a bench and talk
for hours He was so interested in hearing about my life, my family, how school was going,
sports He even came watch me race on Bristol Mountain on multiple occasions lf we’re being
honest, Nordic skiing races are not that interesting and are very oold. He was one of few of my
friends who came out to watch multiple races

He was friends with many different groups of people in high school, and he had a way of
bringing everyone to gether. He had a way of making everyone feeling included He made
everyone laugh and had a way of encouraging people to talk who were shy and brought them out
of their shells He got along incredibly well with teachers, parents, coaches

He spent time and got to know every member of my family. He would come over and we all
watched movies to gether, and my siblings and parents liked him a lot. He remembered little
details of their lives and would ask them how that area was going for them.

It’s hard to describe how difficult his absence has been these past few years, in my own life and
with our larger group of friends l wish him all the best.

Thank you kindly,
Maggie Mcl\/Iahon

August 21, 2018

lVlr. and |\/lrs. Greg Sample
4674 l\/|ystic Dr.

Atlanta, GA 30342

Ph: 404-303-1230

Dear Hon. Frederick J. Scullin Jr.:

The purpose of this document is to serve as a letter of support on behalf of Char|ie Tan and to
ask for maximum leniency during sentencing We are residents of Atlanta since the early 90's,
parents of two daughters (now 17 and 20 yrs) in our early 50’5, employed by The Coca~Cola
Company for 25 years, undergraduates of LSU and Vanderbilt in Engineering and l\/lath, and
lVlBAs of GA Tech and Emory Business School.

We met Charlie for the first time at our gym in Spring of 2016 in Atlanta. He was dedicated to
fitness and observed a disciplined workout and diet regimen. As we were becoming friends,
Charlie was forthcoming about all that he had just experienced, including his recent casel As an
early point of good character, he was open and honest and did not want us to feel he had
befriended our family without our knowing his recent past and deciding for ourselves whether
to continue the friendship,

l\/lany times over the next few months, we invited him over for dinner, family time, and
weekend vacation. We have two daughters close in age to Charlie, who enjoy his
companionship like a brother. Our family felt compassion for him and genuine desire to spend
time with him. lt was obvious the then ZO-year old had grown up with domestic abuse, had
persevered to earn his way to Cornell, had been through a terrible emotional experience, was
in Atlanta alone ree|ing from this recent ordeal, and trying to get back on his feet again.

lt is in Charlie’s fabric that in spite of all he had just been through, he showed energy, hope, and
ambition to complete his education, become employed, and contribute meaningfully to society.
During the time we spent with him, he was busily preparing college admissions applications and
essays to Emory, Georgia State, and other colleges, which were unfortunately denied due to
concerns admissions officers held after reading about him on the internet. Also, while in
Atlanta, he became a Certified Personal Fitness Trainer. He trained his dog Tiger to become a
Certified Service Animal as well. He obviously loves people and animals He is a good
communicator, often inquiring about career counseling and mentorship. He is an avid reader
and is always trying to improve himself and those around him. Charlie takes nothing for
granted.and expresses gratitude, curiosity, humbleness, and desire to learn every day.

To offer a sense of Charlie’s character - after family dinners, Charlie was the first one to jump
up-from the»table and`wash dishes by hand until.every single pot and pan was stored away. He
would gladly go pick up our daughter at school carpool because we were in a time bind. One
day, he sat in the kitchen for almost one hour untangling three small necklaces with a toothpick

for our daughter's best friend so she could wear them again. He would often bring our family
fruit bowls as his dinner contribution. He showed kind gestures of thanks to the family such as
flowers and food, He played board games and did swimming pool stunts with our girls His
friends would visit from out-of-town for the weekend, and he took pride in barbequing for all
and creating camaraderie. Char|ie showed us many times how thoughtful, kind, patient, and
generous he is. He consistently showed high work ethic and integrity. He’s a bright shining star
filled with joy of life and a very endearing personality that brings others together.

We ask that you please be lenient on him. We are in no way overlooking the magnitude of this
tragic situation. He has already paid a meaningful price for what has happened throughout his
growing up years and his jail time served thus far. l-le has had his education and early adult
years significantly interrupted and stripped away. He has not had the fulfillment of a loving and
supportive family as many of us have, and in spite of all this he’s still managed to be a really
positive person. He could benefit from a better hand than the one he was dealt. lt is not too
late for him. lt is our hope that Charlie is allowed to put this tragic situation behind him, as he
is not a threat to society. Please help give him the chance to get back onto the life path of
completing his education, getting the counseling he needs to repair and heal, hopefully starting
a family of his own one day, and contributing to the betterment of others and society. lf so, it

seems he is destined to thrive and to inspire others to do great things too. Thank you for your
consideration.

Respectfuily,

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Alison and Greg Sample

James Nobles Esq. Mail - Letter for Charlie Tan 9/11/18,10:48 A|\/l

  

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Letter for Charlie Tan

 

positivek9inc@yahoo.com <positivek9inc@yahoo.com> Sun, Sep 9, 2018 at 6:24 Pl\/l
To: brian@noblesdefense.com

Good evening ,
l am sending you this letter on behalf of my dear friend Charlie Tan.
Please let me know if there is anything else that l can provide to help .
Best ,
l\/le|issa A Cocola
2150 Sherburne Rd
Watworth l\lY t4568
585-727~4015

Dear Honor Fredrick .l`. Scullin i`r,

Please allow me to introduce myself .

l\/ly name is l\/lelissa A Cocola . l am the owner of
Creekside Resort lnc. and Positive K9 lnc .

l have three locations in the Walworth ,New York
area .

My businesses are full service Dog Resorts and
Training Centers.

l met Charlie in the spring 20l6 after a long time
friend had contacted me stating that he had a young
man who was interested in volunteering his time to
Care for animals .

Upon interviewing Charlie , it was very apparent that

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Jarnes Nobles Esq. Mail - Letter for Char|ie Tan 9/11/18, 10:48 AM

he had a strong passion for dogs .l was immediately
impressed with his level of enthusiasm and warm
demeanor.

Charlie began his volunteer work with my Dog
Training and Boarding Facility immediately

He was prompt , hard working , and eager to learn
about animal behavior .

l have a team of 23 employees who were equally
impressed with Charlie’s work ethic .,

Charlie quickly made friends as well as gained the
respect of our entire team. lie had the reputation of
always lending a hand . lie is very much a “team
player”. Even during our most hectic days , Charlie
was always smiling and exuded a level of positivityl
that was contagious amongst his peers .

Charlie also displayed a natural gift to bond with the
aggressive dogs who were being housed for training .
He handled them with compassion and respect ., lie
was always patient and understanding of their at times
inappropriate behaviors .

Although it was a volunteer position , Charlie worked
harder then much of my full time staff which
improved the overall work performance of my team .

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James Nobles Esq. Mail - Letter for Char|ie Tan 9/11/18,10:48 AM

His dedication and commitment to excellence was
noticed by all who witnessed his work .

As the months passed Charlie developed strong
bonds with my staff . He rarely came to Work empty
handed . He would bring lunch, or bottles of water for
the staff on hot days . There were many gestures of
kindness that left a lasting impression on all of us who
had the pleasure of working along side of Charlie .

l have had many employees over 25 years of being a
business owner . Charlie is truly one of the kindest ,
most hard working young men who has ever walked
through our doors.

Charlie sincere and genuine kindness has left a lasting
impression on his lt`ellow coworkers as well as our
clients.

Please feel free to contact me with any additional
questions

Sincerely,

Melissa A. Cocola

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September 6, 2018
Hon. Frederick J. Scullin Jr.

l am honored to write this letter on behalf of Charlie Tan. l met Charlie in August of
2016 when he moved into the house across the street.

Charlie is incredibly outgoing and polite and soon knew everyone on the block and in
the neighborhood We (adults) also all knew of his past as he did not want any of us
to feel deceived by him.

Charlie is incredibly polite, respectful, and the first to jump up to help someone in
need. He is generous with his time and would spend hours with my two sons then

Charlie was always helping someone out. He talked about “paying it forward”. One
day l was looking out my back kitchen window and saw Charlie helping a neighbor on
the next block with his backyard pool. Another day he was bringing dinner to
someone who wasn’t feeling well. He was often seen doing little random acts of
kindness for the people around him. And he was grateful. Grateful for the friendship,
grateful for the support and never hesitated to show it. |f you did something for
Charlie he would come the next day with flowers or food and a thank you note. He

Charlie moved again in June of 2017. He was here for a short time but had an
enormous impact on our lives.

Our entire family adores Charlie and wish him the best outcome for this case, You
may also contact me at 773-835-5948 if you have any questions regarding this letter or
Charlie.

Sincerely,
Lisa Beemsterboer

10235 S. Seeley
Cihicago IL

Dear Honorary Fredrick J. Scullin Jr.,

l\/ly name is Nola O’Keefe and l am erting on behalf of Charlie Tan. Charlie moved 2 houses
down from us in 2016 and stayed for approximately one year. During this time he had grown to
be a big part of our iamily.

Together my husband and l have 7 children and at the time we met Charlie they Were
12,11,10,9,5,2, and 2. We all took a strong liking to Charlie right away as he came over With his

2 dogs and introduced himself to us and invited us and other neighbors over to dinner to get to
know him better.

Charlie never did any of these tasks for money or because l asked him to, he reached out to a
mom that has her hands full. He did what comes naturally to him, he asked li he can help,

The most important thing in my life is my children and having Charlie in their life and ours Was
an absolute blessing.

Sincerely,

Nola O’Keefe

August 18, 2018

Dear Hon. Frederick J. Scullin Jr.,

l\/ly name is Vanja l\/lisimovic and l live in Toronto. l had the privilege to meet Charlie Tan last
year in l\/larch and share seven months with him almost every day until September 22 of 2018.

l met Charlie one morning in l\/larch at my local Goodlife Gym where l work out regularly, Charlie was a
brand new face at the time with an unforgettable smile. His charming smile and friendly personality was
what instantly attracted me to him. Having a strong need and dedication to fitness and sports was
definitely something that brought us closer together in a short time.

Char|ie easily made friends, not only at Goodlife where he also worked as a Personal Trainer for the time
being, but anywhere we went together. His kind personality went a long way without a question.

One of the first walks we went on with his two German Sheppard dogs around the neighborhood is an
example l can share with you. A gentleman was walking across the street from us and when Charlie
spotted him, he instantly greeted him with a wave and a "Hello Sir, how are you?”

l\/|y initial thought was but Charlie you do not know him, why are you saying hi. But the smile Charlie
received from that man was indescribable. lt made me think that sometimes or a lot of times actually,
that is all it takes to make someone’s day better. To Charlie that skill comes naturally His positive
attitude and energy easily shines on people surrounding him, including myself

ln my case, Charlie helped me significantly as l was going through some tough times being a single
mother with two small boys. Charlie didn’t talk much, he basicallyjust did things to show me that he
appreciated me without even being asked to do it. As l am used to doing things on my own, l am not
used to asking or receiving any help from others. But in my case, Charliejust wanted to help me.

He was great with my children and voluntarily coached them in different sports, as it came so naturally
to him. He was also willing to help them with their homework, as he excelled that skill as well. He did
tutor kids in high school and told me that he really enjoyed it, He certainly has the skill to teach and
show others how things can be done. in my opinion, Charlie is excellent in that.

ln the summer of 2018, we decided to move in together and spent the last three months inseparably.

Charlie helped with house work and brought groceries home without even being asked to do it. He
made things so easy around him and was loved by so many people, including myself first.

l\/ly boys had a chance to go to a basketball and baseball game in the summer as Charlie said to me:
”What do you mean Vanja, that they haven`t been to a game?" He was puzzled.

To him, it was very important for kids to see and do kids’ stuff. l-le definitely left them with amazing
memories of the both games, along with hats and ierseys they got to take home as well.

l\/ly kids were thrilled.

l can describe Charlie as a very confident, humble, sincere and a very kind individual and an awesome
man he has become and still has a lot to see and do in |ife.

But l also got to see that inner child in him as well, through my kids that perhaps was still seeking for a
sense of security and love that he may have not been fully provided with growing up. Our upbringing
and childhood shapes us and makes us into individuals that we are today. Having said, all l can say is that
very few people would turn out to be as Charlie has today, considering all aspects of his childhood that
none of us really know but him but can only imagine

l truly say this from the bottom of my heart. | believe his loyalty to people he touches, kindness he gives
and sincerity that is within him will take him far in life, l feel privileged to have met him and l have said
this to so many people in my life, He changed my life and that is for sure. He made me see and believe
that there is a light at the end of each tunnel for each one of us out there.

When l am having a bad day, all l can think of is Char|ie and l hear him say to me:
‘ l’Vanja, baby, keep smiling because that smile is beautifull” And l instantly do.

Charlie Tan has touched my heart in so many ways, as he did many others as well. l am thankful for
having him in my life, as he is one huge heart with a captivating smile beyond words can explain.

l thank you in advance for taking your time to read my letter, as my words are pure and come from the
bottom of my heart.

Sincerely Yours,

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Vanja isimovic

HE|NEKE & BURKE, LLC

ATTORNEYS AT LAW

120 NORTH LASALLE STREET SUITE 1450
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TELEPHONE (312) 580-7300

FAX (312) 580-9200

September 7, 2018
Honorable Fredrick J. Scullin, Jr.
Re: Charlie Tan
Dear Judge Scullin:

I am writing this letter on behalf of Charlie Tan. Along with my wife, Carolyn, and my two
young children Nate and Allison; I reside at 2022 W. 103 “l Street, Chicago, Illinois. Between
August 2016 and June 2017, Charlie resided just two doors down. From the moment he moved
onto the close-knit block, he made himself a known and productive member of the neighborhood
Charlie innnediately introduced himself to me and my fellow neighbors Without being asked, he
would help me and the other neighbors with any small projects where an extra set of hands was
needed. For example, at his suggestion Charlie and I repaired our next-door neighbor’s trampoline
while our neighbors (Mr. Ed O’Keefe and family) were out of town. On another occasion, l recall
he helped me erect a basketball goal in my driveway. l am also thankful that on another occasion,
during a driving snowstorm, he unloaded and moved heavy furniture into my house (which frankly
would have been ruined if left to this 50 year-old author to do myself).

Additionally, he would regularly engage and play with the many, many children who live in
the near vicinity. The kids in the area would routinely play with Charlie’s two dogs, Tiger and
Molly. With the kids, Charlie would frequently organize and participate in football games and the
like. During these episodes, he was always sure to include all the kids irrespective of their age
differences Charlie was well liked by everyone in the neighborhood that crossed paths with him.
During this time period, Charlie was a frequent guest in our home as a dinner guest and from our
conversations, l became to admire him as a mature and industrious young man,

Charlie is intelligent and exceedingly unselfish. Given the opportunity, he can and will
accomplish many things

Most sincerely,

Matthew G. Burke
MGB:pd

EXH|B|T C

Audio of 911 call, January 28, 2015

Submitted separately and available at https://soundcloud.com/democrat-and-
chronicle/128-iean-tan-911-call-he-choked-me-and-im-so-scared.

      

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M. Sullivan - CX by Mr. Nobles

Q And at that point in time, he was now not a
co-worker of yours, not the marketing manager, but he was
actually the boss, correct?

A Right.

Q . How did things change when he became the boss?

A How did things change?

Q Well, describe how your working interaction with
Mr. Tan was after he became the boss?

A A little more stressful at times.

Q Okay. Fair to say that in the work place he would
be a bully?

A Yes.

Q He tried to be a bully to you?

A At times.

Q He tried to intimidate you?

A He tried to a few times. He would make little
comments; yes.

Q And you have a pretty strong constitution? You can
take that sort of thing pretty well?

A I kind of just shoved it off.

Q There were certainly other employees that it had a
more detrimental effect on, correct?

A There were probably people that were more easier
marks, if that's the right word.

Q What do you mean by easier mark? Can you describe

 

 

 

 

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M. Sullivan - CX by Mr. Nobles
that for the jury?
'A _ A person ~-
THE COURT: You have to speak up a little
louder, if you could.
BY MR. NOBLES:
A He might target one person more than another person
How's that?
Q Okay. And you saw him, you visually observed him -

A Yes, l have.

Q Let me finish the question.

THE COURT: Hold on a second. Let him ask the
whole guestion.
BY MR. NOBLES:

Q Mr. Sullivan, the reason is she has to take down ou
words and your words and if we are talking at the same time
she can’t do that.

You certainly saw him demean your co-workers in

front of other co~workers?

A Yes.
Q Yell and scream at them?
A Yes. In fact, he would bring us together so he

could do that in front of us.
Q So he would assemble the employees so that he could

single someone out and yell at them?

 

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M. Sullivan ~ CX by Mr. Nobles

Q Demean them?
A Yes.

Q Bully them?

A Yes.

Q Intimidate them?

A Yes.

Q You saw that on several occasions, correct?
A Yes, sir.

Q Was it ever directed at you?

A Not like that, no.
Q Okay. You certainly are aware that some of your
co-workers left the employment at Dynamax because of

Mr. Tan, correct?

A Correct.

Q You certainly saw him have temper tantrums?

A Yes.

Q Saw him slam doors?

A Not slam doors, but l have seen him throw things.
Q Things? But throw things?

A Yes.

Q And this wasn’t a rare occurrence? This was

something that happened at least a few times a month, if not
more, correct?
A Yes.

Q What was the environment of the work place like?

 

 

 

 

 

 

 

 

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M. Sullivan - CX by Mr. Nobles

A Stressful, very stressful.

Q Did people ~~

A It’s kind of -- I'm sorry.

Q Go ahead.

A lt was you didn’t know sometimes day-to-day if

whether something would happen or nothing would happen.

    
  
 

Q So some days he would be completely fine?

A Yes.

Q Some days he would rant and rave the whole day?

_A Yes.

Q And you had no idea when that was going to happen?
A Correct.

Q Or what or who set him off?

A Yes.

Q Fair to say people would walk on egg shells around

him?
A At times.
MR. GARGAN: Objection, speculation.
THE COURT: Sustained.
BY MR. N©BLES: y
Q Fair to say that at times you were careful what you
said and did around him?
A Yeah. Yes.
Q Fair to say that he liked to argue with people?

MR. GARGAN: Objection, speculation.

 

 

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M. Sullivan - CX by Mr. Nobles

THE COURT: Sustained.
BY MR. NOBLES:
Q Did you get the sense that he enjoyed demeaning
these folks?
MR. GARGAN: Objection, calls for speculation.
THE COURT: Sustained.
BY MR. NOBLES:
Q Did he try ~~ did you ever observe or become aware
of efforts to pit employees against each other by Mr. Tan?
A He would sometimes tell the people there different
stories at times.
Q Would that cause friction among you and co-workers?
A lt would at first and then we would work it out
among ourselves.
Q How is the work environment at Dynamax now?
MR. GARGAN: Objection, relevance.
THE COURT: Yes, sustained.
BY MR. NOBLES: 1
Q You have indicated that there are -~ that there are
other people who are now in charge of the company, Jeanne

and Jeff Tan, correct?

A Correct.
Q And do they behave in the same manner?
A No.

Q Has that improved morale among the staff?‘

 

 

 

 

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M. Sullivan - CX by Mr. Nobles

A Yeah, l believe so,

Q Are you as stressed going to work now as you were
before?

A Not as much, no.

Q That type of behavior, demeaning employees,

threatening employees, bullying employees, that doesn’t

exist at Dynamax anymore does it?

  

A l have not seen it, sir.,‘

Q You talked about knowing Charlie from before, right?
A Yes.

Q Just from interning at Dynamax the summer of 2013?

THE COURT: l think he Said '14.

A Fourteen.

Q I'm sorry, 2014. Did you have any significant
interaction with him or did you just see him coming and
going?

A See him coming and going; say, Hi, and welcome
aboard. That's about it,

Q Fair to say you're all over Dynamax? You are in and
out of the clean room, in and out of the office all day?
You are kind of running around doing everything?

A Usually, yes.

Q You’re the do~everything guy? l think that's your
unofficial title?

A Kind of.

